Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 1 of 49 PageID #: 7391




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


GIGI JORDAN,                                        :    1:14-CV-01485-GAM
   Plaintiff/Counterclaim-Defendant,                :
                                                    :
                v.                                  :
                                                    :
RAYMOND A. MIRRA, JR.,                              :
  Defendant/Counterclaim-Plaintiff.                 :


                             REPORT AND RECOMMENDATION

I.      INTRODUCTION.

        Presently before this Special Master in this diversity action is a myriad of discovery

disputes brought by Plaintiff/Counterclaim-Defendant Gigi Jordan and Defendant/Counterclaim-

Plaintiff Raymond A. Mirra, Jr. For the reasons contained herein, I recommend that the Court

enter the attached order, requiring the production of responses to Ms. Jordan’s supplemental

requests for the production of documents served on 5/8/18 and 9/12/18, Mr. Mirra’s 8/22/18

interrogatories that explicitly identify the entities, assets, liabilities, and any other value

Ms. Jordan claims was omitted from the SDA, and all of the documents identified in Appendix A

of Ms. Jordan’s 9/19/18 Letter (ECF No. 288) except for No. 65. I also recommend that the

Court permit a deposition of Ms. Jordan, the scope of which should be limited to the process she

undertook to respond to the 8/1/18 requests for the production of documents but not the efforts

she made to preserve her personal email accounts. Lastly, I recommend the Court lift the

discovery stay for 60 days to facilitate these activities (including the deposition of Ms. Jordan),

preclude all parties from serving additional discovery responses, except for those mandated

herein, absent order of court, and preclude all parties from serving additional discovery requests

absent order of court.

                                                    1
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 2 of 49 PageID #: 7392




II.    BACKGROUND. 1

       On or about 3/12/08, Ms. Jordan and Mr. Mirra entered into a Separation and Distribution

Agreement (SDA) that purportedly identified and separated their joint assets and liabilities. On

that date, they also executed a Mutual General Release Agreement that attempted to release any

and all claims that existed between them (and their affiliates and employees). Ultimately, this

suit and counterclaim, both arising out of the SDA, were brought by the parties.

       Due to the breadth of the parties’ discovery disputes, the Court stayed all discovery in

this matter on 9/27/18 so that a special discovery master could be appointed. ECF No. 297. This

Special Master was appointed on 10/3/18 to resolve the parties’ outstanding and remaining

discovery disputes. ECF No. 299. Following an initial conference call with the parties, the

Special Master accepted and reviewed the letter-briefs detailing the parties’ positions on the

posture of discovery. 2

       On 11/28/18, Mr. Mirra was ordered to produce to the Special Master for in camera

review unredacted versions of the contested emails identified in Appendix A to Ms. Jordan’s

9/19/18 Letter. ECF No. 304. Mr. Mirra provided its production to this Special Master on

12/7/18.




1
        The background of this matter is well-known to the Court and parties and will not be
reiterated except to the extent necessary for the disposition of the parties’ pending discovery
issues.
2
        The letter briefs reviewed by this Special Master included, but were not limited to, the
following: Ms. Jordan’s 9/19/18 Letter outlining the parties’ discovery disputes (ECF No. 288);
Mr. Mirra’s 11/6/18 Letter response; Mr. Mirra’s 11/6/18 Letter outlining the parties’ discovery
disputes; Ms. Jordan’s 11/8/18 request to strike Mr. Mirra’s 11/6/18 Letter regarding the parties’
discovery disputes; Mr. Mirra’s 11/9/18 Letter response to the request to strike; Ms. Jordan’s
11/10/18 Letter reply reaffirming her request to strike; Ms. Jordan’s 11/20/18 Letter response to
Mr. Mirra’s issues; Ms. Jordan’s supplemental 1/7/19 Letter outlining new discovery disputes;
Mr. Mirra’s 1/9/19 Letter response; Mr. Mirra’s 1/16/19 Letter response; Ms. Jordan’s 1/18/19
and 1/23/19 Letter responses; and Mr. Mirra’s 1/25/19 Letter response.
                                                 2
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 3 of 49 PageID #: 7393




       On 1/11/19, a discovery conference was held before the Special Master. At that time, the

Special Master heard argument and conducted a discussion of the discovery issues about which

there has been disagreement between the parties. Upon review of the parties’ extensive letter-

briefing, impressive oral argument, and the docket to date, this Special Master respectfully

provides this Report and Recommendation.

III.   LEGAL STANDARD.

       Federal Rule of Civil Procedure 26(b)(1) provides for the discovery of “any

nonprivileged matter that is relevant to any party’s claim or defense and proportional to the

needs of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties’ relative access to the relevant information, the parties’ resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit.” Fed. R. Civ. P. 26(b)(1). Discoverable

information need not be admissible at trial, only relevant to the parties’ claims and defenses. Id.

Relevance is liberally construed to “encompass any mater that bears on, or that reasonably could

lead to other matter[s] that could bear on, any issue that is or may be in the case.” Oppenheimer

Fund, Inc. v. Sanders, 437 U.S. 340 (1978).

       “Although the scope of discovery under the Federal Rules is unquestionably broad, this

right is not unlimited and may be circumscribed.” Bayer AG v. Betachem, Inc., 173 F.3d 188,

191 (3d Cir. 1999) (citing Hickman v. Taylor, 329 U.S. 495, 507 (1947)) (other citations

omitted). Indeed, discovery must be limited by the Court if the information “sought is

unreasonably cumulative or duplicative, or can be obtained from some other source that is more

convenient, less burdensome, or less expensive.” Fed. R. Civ. P. 26(b)(2)(C)(i); see also Bayer,

173 F.3d at 191. Further, discovery, particularly requests for the production of documents,



                                                  3
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 4 of 49 PageID #: 7394




should not be used as a fishing expedition. Fort Wayne Corrugated Paper Co. v. Anchor

Hocking Glass Corp., 4 F.R.D. 328, 329 (W.D.Pa. June 18, 1940).

IV.     DISCUSSION.

        A.      MS. JORDAN’S DISCOVERY ISSUES.

                1.       Mr. Mirra’s objection to producing the asset and liability documents
                         of the parties’ pre-merger BioMed companies is overruled.

        On 5/8/18, Ms. Jordan requested documents from 12 pre-merger Biomed companies. 3

ECF No. 288 at 2-5. None of these companies was explicitly listed in the SDA. 4 Ms. Jordan

claims she is entitled to this documentation due to her ownership of these companies from their

formation until 3/12/08. ECF No. 288 at 2. She notes Mr. Mirra has produced some of the

business records of these 12 companies but no records for the pertinent timeframe, to wit, 2004

to 2008. Id. at 3.

        Mr. Mirra objects to the disclosure of this documentation because the 12 companies were

either merged with or made subsidiaries of Biomed America, Inc., prior to the SDA’s execution.

11/6/18 Letter at 5-6. He argues Ms. Jordan’s classification of these companies as “Biomed

Subs” within her 5/8/18 requests constitutes an admission that these companies were merged into

or made wholly-owned subsidiaries of Biomed prior to the execution of the SDA. Id. at 5. Also,

he claims he effectively listed all of these companies in the SDA by placing Biomed America,

Inc., on the joint asset list. Id.




3
        These companies include: Atlas Respiratory Services, Inc.; Versatile Care Solutions,
Inc.; Access Healthcare Services, LLC; Apogenics Healthcare, Inc.; BioMed Pharmaceuticals,
Inc.; Access Therapeutics, Inc.; Alliance Ambulatory Infusion Center, LP; BioMed California,
Inc.; BioMed Kansas, Inc.; BioMed Florida, Inc.; BioMed PA, Inc.; and BioMed Texas, Inc.
4
        Biomed America, Inc. was the only Biomed-related company explicitly listed in the
SDA. See ECF No. 288 at Ex. B.
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Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 5 of 49 PageID #: 7395




       Both parties claim that the Court’s 6/13/18 order supports their position. 5 On 6/13/18,

the Court compelled the production of documents “pertaining to the assets and liabilities that

were omitted from the SDA Schedules, regardless of whether the companies with which these

assets and liabilities were at one point associated with were listed on the SDA Schedules, or

otherwise dissolved.” ECF No. 257 at 1 (emphasis added). Ms. Jordan points to this ruling in

support of the disclosure of the requested documents.

       However, the Court denied the production of “documents pertaining to the assets and

liabilities that were listed in the SDA Schedules, including documents as to the value of those

assets and liabilities.” Id. at 1-2. The Court extended this denial to include Ms. Jordan’s

“requests pertaining to BioMed America, as such requests are not relevant to the warranties that

are the focus of [her] remaining claim.” Id. at 2. Mr. Mirra contends this portion of the Order

supports his objection.

       In accordance with the Court’s 6/13/18 Order, Mr. Mirra should produce documentation

regarding the 12 pre-merger Biomed companies. The Court ordered the production of

documents regarding all assets and liabilities that were omitted from the SDA “regardless of

whether the companies with which these assets and liabilities were at one point associated with

were listed on the SDA Schedules, or otherwise dissolved.” ECF No. 257 at 1. Here, Ms. Jordan

requested documentation for 12 companies that are not explicitly contained within the SDA.

Mr. Mirra’s argument that these companies were merged or consolidated with Biomed America

(or even dissolved) at the time of the SDA does not prohibit the production in light of the Court’s

6/13/18 Order.




5
       The Special Master has reviewed the pertinent letter briefs related to the 6/13/18 order,
including but not limited to those dated 5/23/18, 5/31/18, and 6/4/18.
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Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 6 of 49 PageID #: 7396




       Regardless of any purported ownership interest that Biomed America had in these

companies prior to or at the time of the SDA, these companies arguably had their own separate

assets, liabilities, and equity that Ms. Jordan is entitled to discover. These 12 companies should

have produced their own financial documentation, balance sheets, and income statements. While

Ms. Jordan cannot discover financial information concerning these companies from Biomed

America itself, since this asset was included on the SDA, she can obtain documentation directly

from the 12 companies. Therefore, Mr. Mirra’s objections are overruled, and Ms. Jordan’s

request is granted. Mr. Mirra should produce this documentation within 60 days of the

accompanying Order.

               2.     Ms. Jordan’s request for responses to her 9/12/18 supplemental
                      requests for the production of documents is granted upon agreement
                      of the parties.

       Ms. Jordan served supplemental requests for the production of documents on 9/12/18,

seeking information from Mr. Mirra regarding 12 companies. 6 None of these companies was

listed in the SDA. See ECF No. 288 at Ex. B. Mr. Mirra has agreed to provide documentation

responsive to these requests. 11/6/18 Letter at 8-9. To the extent Mr. Mirra has not produced

these documents to date, he should produce them within 60 days of the accompanying Order.




6
       These companies include: Access Pharmaceutical Services, LLC; Bio-Medical
Innovations, Inc.; Delta Laboratories, Inc.; Indago Healthcare of South Florida, Inc.; Integrated
BioPharm Corporation, Inc.; LBC Credit Partners Parallel, LP; LMS America, Inc.; My Case
LLC; New England Hemophilia and Thrombosis Network, Inc.; RAM Capital Group 2004 Trust;
RAM Capital Holdings, LLC; and World Wide Health, Inc.
                                                 6
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 7 of 49 PageID #: 7397




                3.      Mr. Mirra’s attorney-client privilege/attorney work product
                        objections to emails generated or received by Attorney Troilo are
                        sustained in part and overruled in part.

        The privilege associated with Attorney Troilo’s communications and documents has been

the subject of numerous letter briefs and prior orders by the Court. On 5/31/18, the Court

determined that both Mr. Mirra and Ms. Jordan had an attorney-client relationship with Attorney

Troilo prior to and during the course of the SDA negotiations, reasoning “[w]hen former co-

clients sue one another, the default rule is that all communications made in the course of the joint

representation are discoverable.” ECF No. 250 at 1 (citing Del. R. Evid. § 502(d)(6);

RESTATEMENT (THIRD) OF THE LAW GOVERNING LAWYERS § 75(2)). The Court explained its

ruling “should result in the production of documents to [Ms. Jordan] pertinent to the evaluation

of the value of Biomed, RAM Capital and VasGene.” Id. at 2. Following requests for

clarification of its 5/31/18 Order, the Court advised the parties:

                1.      Neither party may assert a privilege where Mr. Troilo
                        represented them jointly.
                2.      Either party may assert a privilege where Mr. Troilo
                        represented him or her, and only him or her, individually, in
                        connection with a specific matter.
                3.      [Mr.] Mirra may not assert a privilege as to
                        communications from Mr. Troilo concerning any matter
                        where [Attorney] Troilo jointly represented [Mr.] Mirra and
                        an entity in which [Ms.] Jordan had an ownership interest.

ECF No. 257 at 1-2.

        Initially, Mr. Mirra objected to the production of approximately 68 categories of emails

and attachments generated by or sent to Attorney Troilo, asserting the protections of the

attorney-client privilege and work product doctrines. ECF No. 288 at Appx. A. To date, only

33 categories of emails are still at issue.




                                                  7
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 8 of 49 PageID #: 7398




       Upon direction of the Special Master, Mr. Mirra submitted these documents for in

camera review. Upon review of Mr. Mirra’s in camera production, his objections are overruled

in part and sustained in part as follows.

                       a.      Attorney Troilo’s joint representation of the parties.

       No. 2 7 relates to a 11/7/08 letter of intent (LOI) from United BioSource Corporation

(UBC) to purchase 100% of the outstanding capital stock of Advance Research Corporation

(ARC). In the SDA, Ms. Jordan relinquished all of her right, title, and interest in ARC. As such,

Ms. Jordan had some interest in ARC at the time of the LOI between UBC and ARC. In

accordance with the Court’s 5/31/18 and 6/13/18 Orders, the entries identified as No. 2 should be

produced.

       Nos. 11, 15, 67, and 68 contain schedules of partnership and net assets of Mr. Mirra and

Ms. Jordan, along with various proposed distributions of the same. In accordance with the

Court’s 5/31/18 and 6/13/18 Orders, the entries identified as Nos. 11, 15, 67, and 68 should be

produced.

       Nos. 12 and 13 contain pages of Attorney Troilo’s file folder regarding the parties’ SDA,

including draft plans of distribution and evaluations of the parties’ assets and liabilities. The

entirety of this file pertains to the process under which Mr. Mirra and Ms. Jordan’s joint assets

and liabilities will be distributed. In accordance with the Court’s 5/31/18 and 6/13/18 Orders,

the entries identified as Nos. 12 and 13 should be produced.

       No. 16 contains notes regarding Hawk Mountain LLC. In accordance with the Court’s

5/31/18 and 6/13/18 Orders, the entry identified as No. 16 should be produced.




7
         The No. designations contained in this Report and Recommendation correlate with the
first column of ECF No. 288 Appendix A, which is attached hereto as Exhibit B.
                                                  8
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 9 of 49 PageID #: 7399




          No. 20 includes a series of two emails regarding a spreadsheet that details the parties’

joint assets. The initial email is between Attorneys Troilo and August and is discoverable

because it does not contain legal advice. The secondary email is between Attorneys Troilo and

August and Messrs. Bonventure and Tropiano. Initially, the secondary email is also discoverable

because it contains information regarding the parties’ joint assets relayed to Attorney Troilo.

Moreover, it is a communication between Attorneys Troilo and August with non-clients, such as

Mr. Bonventure. Accordingly, the entry identified as No. 20 should be produced.

          The spreadsheet attachment in No. 20 was not included in the in camera production to the

Court. Upon review of all of the entries, the Special Master believes the attachment is likely the

spreadsheets identified in Nos. 22 and 23. However, since Mr. Mirra did not include this

attachment in the No. 20 production to this Special Master, I conclude that it is not within his

possession. In the event Mr. Mirra discovers the spreadsheet identified within entry No. 20, he

should immediately supplement his production to include it, regardless of the stage of the

proceedings.

          No. 21 is a series of emails relating to No. 20 that continue to discuss the parties’ net

asset spreadsheet, which this Special Master believes is included in Nos. 22 and 23. As these

emails contain discussions by Attorney Troilo regarding the parties’ joint assets, the entry

identified as No. 20 should be produced in accordance with the Court’s 5/31/18 and 6/13/18

Orders.

          The spreadsheet attachment identified in No. 21 was not included in the in camera

production to the Court. Again, the Special Master believes the attachment is likely the

spreadsheets identified in Nos. 22 and 23. However, since Mr. Mirra did not include this

attachment in the No. 21 production to this Special Master, it can be deduced that it is not within



                                                    9
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 10 of 49 PageID #: 7400




 his possession. To the extent Mr. Mirra discovers the spreadsheet identified within entry No. 21,

 Mr. Mirra should supplement his production to include it, regardless of the stage of the

 proceedings.

        Nos. 22 and 23 contain a series of spreadsheets that outline the parties’ joint assets and

 the proposed separation of the same. These entries are discoverable in accordance with the

 Court’s 5/31/18 and 6/13/18 Orders and should be produced.

        No. 24 is a document prepared by Mr. Tropiano for Attorneys Troilo and Morris that

 outlines the tax implications to the parties regarding a proposed distribution of their assets. In

 accordance with the Court’s 5/31/18 and 6/13/18 Orders, the entries identified as No. 24 should

 be produced.

        No. 40 contains notes by Attorney Troilo regarding a proposed distribution of the parties’

 assets. In accordance with the Court’s 5/31/18 and 6/13/18 Orders, the entry identified as No. 40

 should be produced.

        No. 41 contains a draft SDA prepared by Attorney Troilo. In accordance with the

 Court’s 5/31/18 and 6/13/18 Orders, the entry identified as No. 41 should be produced.

        No. 42 is a 3/9/08 correspondence from Attorney Troilo to Attorney August and

 Messrs. Bonventure and Tropiano identifying a proposal by Ms. Jordan regarding RAM Capital

 and the Hawk Mountain loan and requesting the tax implications of the same. The email also

 contains written statements purportedly in response to this request. The author of these

 handwritten statements is not disclosed, but purportedly is Attorney Troilo. In accordance with

 the Court’s 5/31/18 and 6/13/18 Orders, the email identified as No. 42 should be produced.

        No. 48 is a 3/11/08 correspondence between Attorneys August, Troilo, and Rodos and

 another individual at Attorneys August and Rodos’ law firm regarding the process that should be



                                                  10
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 11 of 49 PageID #: 7401




 undertaken by Mr. Mirra in purchasing Ms. Jordan’s interest in Biomed to avoid the realization

 of a short-term capital gain. As this correspondence includes details regarding the transfer of

 Ms. Jordan’s Biomed stock to Mr. Mirra, it is discoverable and should be produced in

 accordance with the Court’s 5/31/18 and 6/13/18 Orders.

        No. 50 is a series of two emails, one from Attorney Troilo to undisclosed recipients

 asking to a conference call and the second from Mr. Tropiano to Attorney Troilo regarding a

 loan from Mr. Mirra to Ms. Jordan. The first email does not contain privileged information and

 is discoverable. Moreover, the second email detailing a purported loan between the parties is

 discoverable in accordance with the Court’s 5/31/18 and 6/13/18 Orders.

        No. 51 contains two 3/12/08 emails: (1) an 8:30 a.m. email from Mr. Bonventure to

 Attorneys Troilo and August and Mr. Tropiano and (2) an 8:52 a.m. email from Attorney August

 to Messrs. Bonventure and Tropiano and Attorney Troilo, both outlining the tax implications

 when distributing assets from the RAM Realty partnership. In accordance with the Court’s

 5/31/18 and 6/13/18 Orders, the entry identified as No. 51 should be produced.

        No. 64 contains a draft RAM Capital Group, LLC Member Withdrawal and Liquidation

 Agreement prepared by Attorney Troilo. In accordance with the Court’s 5/31/18 and 6/13/18

 Orders, the entry identified as No. 64 should be produced.

        No 66 contains Attorney Troilo’s handwritten notes regarding the assignment of a lease

 between Hometech Therapies, Inc. (Hometech) and ARC. Although Ms. Jordan had no interest

 in ARC at the time of this correspondence, Hometech was a joint asset of the parties. In

 accordance with the Court’s 5/31/18 and 6/13/18 Orders, the entry identified as No. 66 should be

 produced.




                                                 11
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 12 of 49 PageID #: 7402




                        b.      Non-legal advice.

        No. 17 contains a handwritten note from Attorney Troilo to Mr. Mirra indicating that he

 should “call if you have any questions or thoughts.” This communication is not legal advice, is

 not protected, and is discoverable. The entry identified as No. 17 should be produced.

        Similarly, No. 32 contains a handwritten note from Attorney Troilo to Mr. Mirra saying

 “let’s talk” to discuss if Ms. Jordan can be on a call regarding the draft plan of distribution, an

 extraneous “12/02” reference, and some underlining. Again, these communications are not legal

 advice, are not protected, and are discoverable. The entry identified as No. 32 should be

 produced.

        No. 18 contains an email chain between Attorneys Troilo and Morris and Messrs.

 Bonventure and Tropiano setting up a call to discuss a preliminary tax proposal. The entry

 identified as No. 18 does not constitute legal advice. Moreover, it is a communication between

 Attorneys Troilo and Morris with non-clients, such as Mr. Bonventure. The entry identified as

 No. 18 should be produced.

        The pdf attachment identified as the preliminary tax proposal in No. 18 was not included

 in the in camera production to the Court. Since Mr. Mirra did not include this attachment in the

 production to this Special Master, it can be deduced that it is not within his possession, not that

 he is hiding it for a nefarious purpose. To the extent Mr. Mirra discovers the proposal identified

 within entry No. 18, which seems unlikely to this Special Master at this stage of discovery,

 Mr. Mirra should supplement his production to include it, regardless of the stage of the

 proceedings.

        No. 49 contains a series of 4 emails between Attorneys Troilo and Rodos from 3/12/08.

 The first three emails in the series (sent at 9:03 p.m., 9:05 p.m., and 9:08 p.m.) do not contain


                                                   12
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 13 of 49 PageID #: 7403




 any legal discussions but are merely a request from Attorney Troilo to Rodos to review

 agreements relating to the SDA. As such, these emails are not privileged and should be

 produced.

        Nos. 59-63 is a series of innocuous emails between Attorneys August and Troilo and who

 this Special Master believes to be various individuals at Attorney August’s office identifying that

 Attorney August revised documents. These emails do not contain privileged matter and should

 be produced.

                       c.      Michael Bonventure’s tax advice.

        No. 14 contains Mr. Bonventure’s analysis of the tax implications arising out of a

 proposed like-kind exchange of real property between the parties. Mr. Bonventure is not an

 attorney and the attorney-client privilege does not attach to his communications. Moreover,

 Mr. Bonventure is disclosing to Attorney Troilo the tax implications of the parties exchanging

 jointly held properties during the SDA. In accordance with the Court’s 5/31/18 and 6/13/18

 Orders, the email identified as No. 14 should be produced.

        No. 45 is a 3/11/08 correspondence from Mr. Bonventure to Attorney Troilo and

 Mr. Tropiano calculating the basis of the properties held by RAM Realty. Similar to No. 14, the

 email identified as No. 45 should be produced.

                       d.      Non-relevant entries.

        No. 65 contains a series of emails from 3/18/08-5/29/08 and a 3/19/08 Stockholder

 Information Statement regarding the merger of Biomed America with Biomed Healthcare and its

 acquisition by Allion. The Statement details the record date of the merger and acquisition as

 3/13/08, and indicates its mailing to all holders of common stock as of the close of business on

 3/13/08. Ms. Jordan and Mr. Mirra entered the SDA on 3/12/18. As such, Ms. Jordan was not a


                                                  13
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 14 of 49 PageID #: 7404




 stockholder of Biomed America on 3/13/18 and has no interest in the Statement. Further, the

 Court has previously ruled that information pertaining to Biomed America is not discoverable as

 it was an asset disclosed on the SDA. See ECF No. 257 at 1-2. Accordingly, the emails and

 Statement attached at No. 65 are not relevant and need not be produced in accordance with the

 Court’s 6/13/18 Order.

        Accordingly, Mr. Mirra’s objections to the production of the 33-still-contested entries

 identified on Appendix A of Ms. Jordan’s 9/19/18 Letter (ECF No. 288) are overruled, except for

 his objection to entry No. 65. Mr. Mirra’s objection to the production of entry No. 65 is

 sustained.

                4.     Ms. Jordan’s request for a third-party vendor to forensically analyze
                       Attorney Troilo and Mr. Tropiano’s personal email accounts and
                       electronic devices is denied.

        Ms. Jordan requests a neutral, third-party vendor be employed to forensically analyze

 third-parties Attorney Troilo and Mr. Tropiano’s 8 personal email accounts and electronic devices

 for documents created, revised, or deleted from January-April 2008. Ms. Jordan claims that such

 an independent analysis is necessary in light of the purported dearth of information provided by

 Mr. Mirra with respect to these non-parties during the period immediately prior to the SDA. In

 support of her request, she cites Good Kaisha IP Bridge I v. TCL Commc’n Tech. Holdings Ltd.,

 Civil Action No. 15-634-JFB-SRF (D. Del. July 27, 2018) (ECF No. 439), and W. Pa. Elec.

 Employees Pension Fund v. Alter, Civil Action No. 2:09-cv-04730-CMR, 2013 U.S. Dist.

 LEXIS 130815 (E.D.Pa. June 26, 2013), where the forensic analysis of a SAP database and hard

 drive, respectively, were permitted.



 8
        During the 1/11/19 hearing, Ms. Jordan requested a similar review of Mr. Tropiano’s
 email account and devices. This request is not contained in Ms. Jordan’s 9/19/18 Letter.
 ECF No. 288.
                                                14
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 15 of 49 PageID #: 7405




        In response, Mr. Mirra argues no basis exists for an inspection of Attorney Troilo or

 Mr. Tropiano’s email and electronic devices. 11/6/18 Letter at 10-12. Mr. Mirra reiterates that

 both Attorney Troilo and Mr. Tropiano are non-parties and asserts he has produced all of their

 responsive documents within his possession. Id. at 11. Further, he references Attorney Troilo’s

 deposition testimony, where he testifies he did not destroy his 3/1/08-4/1/08 emails. Id. at 11

 (citing J. A. Troilo, Jr. Dep., Nov. 18, 2015). 9 He also argues no evidence of his own

 misconduct exists to warrant such an intrusion into Attorney Troilo and Mr. Tropiano’s email

 accounts and electronic devices, citing Bianco v. GMAC Mort. Corp., Civil Action No. 07-4650,

 2008 U.S. Dist. LEXIS 84950 (E.D.Pa. Oct. 22, 2008), and Kickapoo Tribe of Indians v. Nemaha

 Brown Watershed Joint Dist. No. 7, 294 F.R.D. 610 (D. Kan. 2013).




 9
         Attorney Troilo’s deposition transcript reads:
                 Q.       Well, do you have your e-mails from the period of March
                          1, 2008 ‘til April 1, 2008?
                 A.       Whatever e-mails existed I had.
                 Q.       Well, did there come a time where e-mails from that period
                          of time were destroyed?
                 A.       No.
                 A.       Sorry. No.
 Id. 200:7-20 (objections to the form of the question omitted).
         Ms. Jordan’s argument that she was thwarted in her attempts to question Attorney Troilo
 on this topic are not supported by the portion of the transcript provided to this Special Master.
 Attorney Troilo was instructed not to answer Ms. Jordan’s inquiry as to whether “anyone at some
 point represent[ed] to [him] that it appeared that the e-mails for the period of the negotiation and
 execution of the SDA, [his] emails, didn’t seem to be present?” Id. 202:20-203:19. This
 question does not pertain to Attorney Troilo’s alleged destruction of his pre-SDA emails.
 Rather, it seeks information regarding discussions had during the discovery process of the
 parties’ related RICO action. As cited above, Attorney Troilo definitively testified that he did
 not destroy his 3/1/08-4/1/08 emails. The veracity of this testimony will be decided by the
 ultimate trier of fact, not this Special Master.
                                                 15
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 16 of 49 PageID #: 7406




        Federal Rule of Civil Procedure 34 outlines the procedure through which a party may

 request the inspection of documents or things, such as an email account or information system,

 possessed by another party.

                RULE 34.  PRODUCING DOCUMENTS,
                ELECTRONICALLY STORED INFORMATION, AND
                TANGIBLE THINGS, OR ENTERING ONTO LAND, FOR
                INSPECTION AND OTHER PURPOSES

                (a)    In General. A party may serve on any other party a
                request within the scope of Rule 26(b):
                       (1)     to produce and permit the requesting arty or its
                       representative to inspect, copy, test, or sample the
                       following items in the responding party’s possession,
                       custody, or control:
                               (A)     any designated documents or electronically
                               stored information—including writings, drawings,
                               graphs, charts, photographs, sound recordings,
                               images, and other data or data compilations—stored
                               in any medium from which information can be
                               obtained either directly or, if necessary, after
                               translation by the responding party into a
                               reasonably usable form….

 Fed. R. Civ. P. 34(a)(1)(A).

        This Court’s Electronic Discovery Default Standard Rules also detail:

                5.     Specific E-Discovery Issues.

                       a.      On-site inspection of electronic media. Such an
                       inspection shall not be permitted absent a demonstration by
                       the requesting party of specific need and good cause.

 Electronic Discovery Default Standard Rules at 5.

        Rule 34’s 2006 advisory committee notes explain a requesting party does not have “a

 routine right of direct access to [the responding] party’s electronic information system, although

 such access might be justified in some circumstances,” because “[i]nspection or testing … of a

 responding party’s electronic information system may raise issues of confidentiality or privacy.”



                                                 16
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 17 of 49 PageID #: 7407




 Id., 2006 advisory committee note (cited by Bianco, 2008 U.S. Dist. LEXIS 94950 at *5). When

 considering a request to inspect another party’s information system, the Court considers:

                •      evidence that the defendant is withholding requested
                       information;
                •      evidence that the defendant is unable or unwilling to search
                       for the requested information on its own; and
                •      the extent to which the defendant has complied with
                       discovery requests.

 Bianco, 2008 U.S. Dist. LEXIS 94950 at *5 (citations omitted).

        Upon consideration of these factors, coupled with the Court’s default rule to withhold

 onsite inspection of electronic media unless a specific need and good cause is established, the

 forensic inspection of Attorney Troilo and Mr. Tropiano’s email accounts and electronic devices

 by Ms. Jordan is not warranted. No evidence exists to establish Mr. Mirra is withholding the

 information requested by Ms. Jordan regarding Attorney Troilo and Mr. Tropiano. Further, no

 evidence exists that he is unwilling or unable to search for the requested information on his own.

        Initially, Attorney Troilo and Mr. Tropiano are third-parties to this action. This matter

 involves a dispute between Ms. Jordan and Mr. Mirra, not Ms. Jordan and Mr. Mirra’s plentiful

 corporate entities. Mr. Mirra has asserted both through his written submissions and oral

 argument that he personally does not have access to the personal email accounts and devices of

 these third-parties beyond what has been reviewed, redacted, and disclosed to Ms. Jordan. This

 Special Master accepts these representations by Mr. Mirra.

                       a.      Attorney Troilo’s personal email account and electronic
                               devices.

        Although Attorney Troilo and Mr. Tropiano’s personal email accounts and devices do not

 belong to Mr. Mirra, he arranged for the forensic review of the email account Attorney Troilo

 used while acting as counsel for the parties. Mr. Mirra engaged the forensic legal consulting


                                                 17
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 18 of 49 PageID #: 7408




 services of DTI Data Recovery (DTI) to analyze Attorney Troilo’s email account during the

 relevant time period. DTI reviewed and recalled all emails generated and deleted during the

 early months of 2008. Thereafter, these emails were reviewed for privilege and produced by

 Mr. Mirra or included within his privilege log. This process was described by Mr. Mirra within

 his submissions and during the 1/11/19 hearing. This Special Master accepts these

 representations.

        Further, no evidence has been presented to challenge these representations. To the extent

 Attorney Troilo deleted emails from early 2008, they would have been recovered by DTI,

 reviewed for privilege, and produced by Mr. Mirra. No independent examination by a third-

 party vendor of Ms. Jordan’s choosing will unearth emails or documents that were not

 reconstructed by DTI.

        Moreover, the case law cited by Ms. Jordan is distinguishable from this matter. 10

        As no need or good cause exists to for an independent review of Attorney Troilo’s email

 account and electronic devices by Ms. Jordan, Ms. Jordan’s request is denied.

                         b.    Mr. Tropiano’s personal email account and electronic devices.

        Similarly, a forensic review of Mr. Tropiano’s personal email account and electronic

 devices by Ms. Jordan is also not warranted. Mr. Mirra does not possess Mr. Tropiano’s

 personal email account or devices as Mr. Tropiano is a third-party to this lawsuit. To the extent



 10
        In Alter, the Court gave the plaintiff the opportunity to review a hard drive in the
 defendant’s possession in light of the defendant’s baseless “assumptions” that the hard drive was
 duplicative of information previously produced and the defendant’s previously-repeated
 contentions that the hard drive did not exist. 2013 U.S. Dist. LEXIS 130815 at *7-19. Here,
 Mr. Mirra has provided a detailed account of the process undertaken to recover emails and
 documents from Attorney Troilo’s email account.
        In IP Bridge, the Court granted the plaintiff’s request to inspect the defendants’ SAP
 database due to data discrepancies found on attorney-generated spreadsheets. Civil Action No.
 15-634-JFB-SRF at 5. Here, no attorney-generated documents are at issue.
                                                 18
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 19 of 49 PageID #: 7409




 Mr. Mirra had possession of Mr. Tropiano’s emails and documents that were relevant to this

 lawsuit, Mr. Mirra has produced them. Accordingly, any request by Ms. Jordan to independently

 review Mr. Tropiano’s personal email account and electronic devices as a result of Mr. Mirra’s

 failure to produce them is not justified. Therefore, Ms. Jordan’s request is denied.

                5.     Mr. Mirra’s objection to producing accounting records in
                       Peachtree/Sage 50 format are sustained.

        Ms. Jordan claims Mr. Mirra failed to produce his accounting records in “their native

 electronic file format” and requests the production of these records in Peachtree/Sage 50 format.

 ECF No. 288 at 13. As explained by Ms. Jordan,

                “Peachtree” is a commonly used brand of accounting software that
                is designed to maintain company general ledgers, subsidiary
                ledgers, budgets, accounts receivable, accounts payable, inventory,
                payroll, and other business records in a searchable database. Once
                financial data is entered into Peachtree, that accounting
                information can be exported to other software programs (such as
                Excel) to refine data (or generate other selective reports or
                financial analyses).

 Id. She argues Mr. Mirra’s accounting record production is deficient because he either “printed

 them out, then scanned paper copies into TIFF format, or else exported them from their native

 Peachtree form to Microsoft Excel files….” Id. Again, Ms. Jordan requests a forensic

 examination by a neutral third-party vendor to identify information regarding purged and backed

 up files. Id. at 15. In support of her arguments, she references the Federal Rules of Civil

 Procedure, the Sedona Principles, Classicstar Mare Lease Litig., MDL No. 1877, Civil Action

 No. 5:07-cv-353-JMH, 2009 U.S. Dist. LEXIS 9750 (E.D.Ky. Feb. 2, 2009), and Payment Card

 Interchange Fee & Merch. Disc. Antitrust Litig., MD 05-1720, 2007 U.S. Dist. LEXIS 2650

 (E.D.N.Y. Jan. 12, 2007).




                                                 19
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 20 of 49 PageID #: 7410




          Mr. Mirra objects to this requested second production because he is not required and it is

 not feasible to produce raw accounting data in Peachtree/Sage 50 file format. 11/6/18 Letter at 6.

 Initially, he identifies he provided all relevant and responsive Peachtree data in Microsoft Excel

 or Tagged Image File Format (TIFF) format. Id. Additionally, he relays his companies routinely

 purge data from their Peachtree database every 20 months. Id. In support of the appropriateness

 of his production, he cites the Sedona Principles, the Court’s Electronic Discovery Default

 Standard Rules, Ezfauxdecor, LLC v. Smith, Case No. 15-9140-CM-KGG, 2017 U.S. Dist.

 LEXIS 96989 (D. Kan. June 23, 2017), Prusin v. Canton’s Pearls, LLC, Civil No. JKB-16-605,

 2017 U.S. Dist. LEXIS 45384 (D. Md. Mar. 28, 2017), and M3Girl Designs, LLC v. Blue

 Brownies, LLC, Case No. 3:09-cv-2390-F, 2011 U.S. Dist. LEXIS 159909 (N.D.Tex. Aug. 31,

 2011).

          Federal Rule of Civil Procedure 34 outlines the production of electronically-stored

 information (ESI) as follows:

                 RULE 34.  PRODUCING DOCUMENTS,
                 ELECTRONICALLY STORED INFORMATION, AND
                 TANGIBLE THINGS…

                 (b)     Procedure.
                         (2)   Responses and Objections.
                               (E)    Producing the Documents or Electronically
                               Stored Information. Unless otherwise stipulated or
                               ordered by the court, these procedures apply to
                               producing documents or electronically stored
                               information:
                                      (i)     A party must produce documents as
                                      they are kept in the usual course of business
                                      or must organize and label them to
                                      correspond with the categories of the
                                      request;
                                      (ii)    If a request does not specify a form
                                      for producing electronically stored
                                      information, a party must produce it in a
                                      form or forms in which it is ordinarily

                                                  20
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 21 of 49 PageID #: 7411




                                      maintained or in a reasonably usable form or
                                      forms; and
                                      (iii) A party need not produce the same
                                      electronically stored information in more
                                      than one form.

 Fed. R. Civ. P. 34(b)(2)(E).

        This Court’s Electronic Discovery Default Standard Rules specifically address the

 production of ESI in native format and requests for on-site inspection of electronic media.

                5.     Specific E-Discovery Issues.

                       c.      Format. ESI and non-ESI shall be produced to the
                       requesting party as text[-]searchable image files (e.g., PDF
                       or TIFF). When a text-searchable image file is produced,
                       the producing party must preserve the integrity of the
                       underlying ESI, i.e., the original formatting, the metadata
                       (as noted below) and, where applicable, the revision
                       history. The parties shall produce their information in the
                       following format: single page TIFF images and associated
                       multi-page text files containing extracted data or OCR with
                       Concordance and Opitcon load files containing all requisite
                       information including relevant metadata.

                       d.      Native files. The only files that should be produced
                       in native format are files not easily converted to image
                       format, such as Excel and Access files.

                       e.      Metadata fields. The parties are only obligated to
                       provide the following metadata for all ESI produced, to the
                       extent such metadata exists: Custodian, File Path, Email
                       Subject, Conversation Index, From, To, CC, BCC, Date
                       Sent, Time Sent, Date Received, Time Received, Filename,
                       Author, Date Created, Date Modified, MD5 Hash, File
                       Size, File Extension, Control Number Begin, Control
                       Number End, Attachment Range, Attachment Begin, and
                       Attachment End (or the equivalent thereof).

 Electronic Discovery Default Standard Rules at 5.




                                                 21
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 22 of 49 PageID #: 7412




        The Court also endorses the principles of the Sedona Conference. The Sedona

 Principles, Third Edition: Best Practices, Recommendations & Principles or Addressing

 Electronic Document Production, 19 SEDONA CONF. J. 1 (2018). Principle 12 details:

                12.     The production of electronically stored information
                        should be made in the form or forms in which it is
                        ordinarily maintained or that is reasonably usable given
                        the nature of the electronically stored information and
                        the proportional needs of the case.

 Id. at 169. Comments b. and b.i. to Principle 12 clarify:

                Comment 12.b.          … Absent agreement, ESI must be
                                       produced as ordinarily maintained or in a
                                       form or forms reasonably usable to the
                                       requesting party.

                Comment 12.b.i.        To be “reasonably usable,” the form of ESI
                                       need not necessarily be in its native format
                                       or the form in which it is “ordinarily
                                       maintained.”

 Id. at 171-72, 174. Provided that ESI is produced in its “ordinarily maintained” or a “reasonably

 usable” form, it is well-settled a party need not produce ESI in an electronic format, such as

 TIFF+, and its native format. Id. at 184. Indeed:

                [t]ypically, a requesting party does not need ESI produced in its
                native format in order to access, cull, analyze, search, and display
                the ESI. Indeed, the most common way to produce ESI for more
                than a decade has been to create static electronic image in Tagged
                Image File Format (TIFF) or Adobe Portable Document (PDF)
                format, to place the extracted text from the document into a text
                file, and to place the selected metadata and other non-apparent tata
                into one or more separate load files. This form is frequently
                referred to as the production of “TIFF, Text and Load Files” or
                “TIFF+”.

 Id. at 172. “Accordingly, requesting parties should avoid demanding a form of production, such

 as all ESI to be produced in a native format, unless they have a demonstrably reasonable need for




                                                 22
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 23 of 49 PageID #: 7413




 that form of production and the necessary technology, skills, and resources available to make

 reasonable use of and to protect the ESI.” Id. at 173.

        At issue before this Special Master is whether Mr. Mirra’s prior Microsoft Excel and

 TIFF production of his accounting records are appropriate within the scope of these rules and

 principles.

        Within Ms. Jordan’s 9/19/18 Letter, she cites the Sedona Principles for the proposition

 that Mr. Mirra’s ESI production should “enable [her as] the receiving party to have the same

 ability to access, search, and display the information as the producing party where appropriate or

 necessary in light of the nature of the information and the needs of the case.” ECF No. 288 at 13

 (emphasis added). This “same ability” concept was contained within the Second Edition of the

 Sedona Principles but has since been eliminated in the controlling Third Edition:

                        Principle 12 of the Second Edition of The Sedona
                Principles moved beyond restating the then-current Rule 34(b) by
                asserting that parties should also take into account “the need to
                produce reasonably accessible metadata that will enable the
                receiving party to have the same ability to access, search, and
                display the information as the producing party where appropriate
                or necessary in light of the nature of the information and the needs
                of the case.” It was understood by the drafters at the time,
                however, that the standard was not for the requesting party to
                literally have the same ability to “access, search and display”
                the information in the ordinary course (which may have
                required a significant investment in time, money, and proprietary
                resources), but the same ability to “access, search and display”
                the information in the context of prosecuting and defending the
                claims and defenses at issue in the litigation. Since the
                publication of the Second Edition, there have been significant
                developments in technology and the case law which may require a
                further nuanced approach to the formats for the production of ESI
                in certain cases, and which also underscore that it may not be
                practical or even possible to provide a requesting party with
                “the same” ability as the responding party to access, search,
                and display information. Indeed, parties’ desire or ability to use
                the various tools that have been and will be developed can vary as
                much as the evolving technologies themselves.

                                                 23
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 24 of 49 PageID #: 7414




                        The touchstone remains, under Rule 34(b)(2)(E), that a
                requesting party is entitled to production of ESI as it is ordinarily
                maintained or in a form that is reasonably usable for purposes of
                efficiently prosecuting or defending the claims and defenses
                involved in the matter. Consequently, the Third Edition of
                Principle 12 eliminates the phrase “the same ability,” and
                instead emphasizes that the parties should follow the Federal Rules
                and seek to reach agreement for the production of ESI as
                “ordinarily maintained or in a reasonably usable form or forms”
                that provide the requesting party a functionally adequate ability to
                access, cull, analyze, search, and display the ESI, as may be
                appropriate given its nature and the proportional needs of the case.
                In some cases, this will mean that the production format provides
                the requesting party with the same ability to access, cull, analyze,
                search, and display the ESI as the responding party has in
                prosecuting or defending the matter (which may differ from how a
                responding party can access or search its own data in the ordinary
                course of conducting its business), but that is not a requirement.

 The Sedona Principles, Third Edition, 19 SEDONA CONF. J. at 174-175 (bold text added; citations

 and footnotes omitted). Accordingly, Ms. Jordan’s “same ability” argument is inconsistent with

 the Third Edition and does not persuade this Special Master to compel production of the ESI in

 any other format or manner than it has already been produced.

        Putting Ms. Jordan’s “same ability” argument aside, this Special Master must consider if

 Mr. Mirra produced his general ledgers in the form they were “ordinarily maintained” or that is

 “reasonably usable” by Ms. Jordan.

        The Sedona Principles state “[t]he form in which ESI is “ordinarily maintained” [] is not

 necessarily synonymous with the form in which it was created” because [t]here are situations

 where legitimate business considerations involve the migration or transfer of ESI to other

 applications or systems” including the conversion of documents “to a neutral format as part of

 the record acquisition or archive process.” Id. at 177. Moreover, “[t]he form in which ESI is

 ‘ordinarily maintained’ may not be conducive to efficient production[,] … reasonably feasible,



                                                 24
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 25 of 49 PageID #: 7415




 and the cost and effort required to produce them in their native format may not be proportional to

 the needs of the case.” Id. at 176.

             Further, “in the majority of instances, TIFF+ is a “reasonably usable” form of production

 for most purposes and types of ESI under Rule 34(b)(2)(E)(ii). Id. at 173.

             Based upon these considerations and Mr. Mirra’s representations, which this Special

 Master accepts, Mr. Mirra has complied with the requirements of F Fed. R. Civ. P. 34(b)(2)(E)

 with his general ledger production in Microsoft Excel and TIFF formats. Initially, Ms. Jordan

 admits that Mr. Mirra produced the general ledgers in either Microsoft Excel or TIFF formats.

 ECF No. 288 at 13 (“[Mr. Mirra] printed out [his Peachtree records], then scanned paper copies

 into TIFF format, or else exported them from their native Peachtree form to Microsoft Excel

 files.”).

             Further, Mr. Mirra explained this mixed Microsoft Excel and TIFF production is

 consistent with his document retention policy.

                    As a result of the mass data input into [the Peachtree] database,
                    coupled with the lack of need to re-run dormant functions from
                    years prior, Mr. Mirra’s business[es] have long routinely “purged”
                    data from the Peachtree database every twenty-months. As a
                    result, older data is not readily accessible from the Peachtree
                    database. These facts were relayed to Ms. Jordan when she first
                    raised this issue three years ago…. Mr. Mirra has produced all
                    relevant, responsive Peachtree data in his possession in native
                    Microsoft Excel format….

 11/6/18 Letter at 6.

                    Over the long stretch of time for which Ms. Jordan seeks
                    accounting records, individual employees of Mr. Mirra created,
                    sent, and printed out a number of accounting records; where such
                    documents exist, they were collected and, if responsive, produced
                    in an electronic format, or in a proper text-searchable TIFF image
                    format. There was no “attempt to deliberately downgrade the
                    capabilities or characteristics” of the records. Mr. Mirra produced



                                                    25
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 26 of 49 PageID #: 7416




                all electronic and paper accounting records in the format in which
                they were ordinarily maintained.

 Id. at 8.

         Ms. Jordan’s arguments that Mr. Mirra’s document retention policy and Microsoft Excel

 and TIFF production are nefarious and sanctionable simply hold no weight in the light of the

 credible representations of Mr. Mirra regarding the search and production of the ESI. Thus,

 Mr. Mirra’s objection to the additional production is sustained.

                6.      Mr. Mirra’s objection to the completion of a checklist contained
                        within Ms. Jordan’s 5/8/18 and 9/12/18 requests for the production of
                        documents is sustained.

         Mr. Mirra objects to the completion of a checklist included within Ms. Jordan’s requests

 for the production of documents dated 5/8/18 and 9/12/18 for 47 companies. 11 This checklist

 would require Mr. Mirra to provide details regarding the entity, asset, or liability that is the

 subject of the request and the character of documents that have been produced. Specifically, the

 checklists accompanying Ms. Jordan’s 5/8/18 requests contain 27 separate line items for the

 entities described therein. Similarly, the 9/12/18 requests include 27 (and in one instance 37)

 separate line items for entities described therein. Mr. Mirra argues the burden and expense of

 completing this checklist “far exceeds the proportionality requirements of Rule 26(b)(1).”

 11/6/18 Letter at 13 (citing Fed. R. Civ. P. 26(b)(1)).

         The Special Master agrees the burden and expense imposed by the checklist far

 outweighs any likely benefit. The effort and time required to complete the checklist would be



 11
         These companies include: AAA Equipment Rentals, LLC; AAA Grading Paving, LLC;
 Access Healthcare Services, LLC; Apogenics, Inc.; Ashland Pharmacy, Inc.; Atlanta ID Group,
 P.C.; Atlas Medical Equipment, Inc.; Atlas Nursing Services, Inc.; Bio-Medical Marketing
 Services, Inc.; Biomed Healthcare, Inc.; Complete Communications, Inc.; Delta Pharmaceuticals,
 Inc.; Eyegene Corporation; Freedom Care, LLC; Hometech Medical Equipment, Inc.; Hometech
 Therapies, Inc.; Indago Healthcare of Florida, Inc.; Indago Healthcare, Inc.; Ledmir, LLC; Logic
                                                   26
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 27 of 49 PageID #: 7417




 significant and would appear to be disproportionate to any possible benefit given the extent of

 discovery responses already submitted by Mr. Mirra. Essentially, Ms. Jordan is requesting

 Mr. Mirra respond to approximately 1,300 additional interrogatories through the completion of

 her checklists. As demonstrated throughout the course of discovery to date, the completion of

 these checklists will not only burden Mr. Mirra but also further the discovery disputes between

 the parties. Through his counsel, Mr. Mirra has certified that his discovery responses are

 complete to the best of his knowledge, information, and belief after a reasonable inquiry. See

 Fed. R. Civ. P. 26(g)(1). No further certification is required by the Rules of Federal Procedure,

 and no further certification will be required by this Special Master. Accordingly, Mr. Mirra’s

 objection is sustained.

                7.         Mr. Mirra’s 11/20/18 production of legal bills in support of his
                           counterclaims.

        On 1/7/19, Ms. Jordan identified a “new discovery dispute” concerning Mr. Mirra’s

 11/20/18 production of approximately 800 pages of legal bills and contemporaneous filing of a

 Motion for Summary Judgment (ECF No. 300). At the outset, Ms. Jordan claims this production

 violated the Court’s 9/27/18 stay. Ms. Jordan objects to the production on the grounds that:

 (1) no searchable metadata was produced; (2) the block billing of five allegedly unrelated matters

 result in a failure to prove the relevant, claimed damages; (3) no retainer letters or agreements



 Medical Solutions, Inc.; Neurology Therapies, Inc.; Physician Oncology Network, Inc.; Practice
 Made Perfect, Inc.; Primavera, Inc.; PRN Healthcare Services, Inc.; RAM Business Holdings,
 LLC; RAM Capital II, LLC; RAM Consultants, LLC; RAM Developers, Inc.; RAM Enterprises
 Holding Company, Inc.; RAM Equity Holdings, LLC; RAM Investment Management, Inc.;
 Retrodyne Corporation; Stat Business Group, LLC; U.S. Neurology Corporation; Access
 Pharmaceutical Services, LLC; Bio-Medical Innovations, Inc.; Delta Laboratories, Inc.; Indago
 Healthcare of South Florida, Inc.; Integrated BioPharm Corporation, Inc.; LBC Credit Partners
 Parallel, LP; LMS America, Inc.; My Case LLC; New England Hemophilia and Thrombosis
 Network, Inc.; RAM Capital Group 2004 Trust; RAM Capital Holdings, LLC; and World Wide
 Health, Inc.
                                                   27
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 28 of 49 PageID #: 7418




 were produced to explain contingency arrangements and discounts; and (4) no privilege log was

 provided to accompany the redactions. She requests the production be stricken and Mr. Mirra’s

 counterclaims dismissed.

        In response, Mr. Mirra directed the Special Master to Ms. Jordan’s 11/29/18 Motion to

 Strike (ECF No. 305) and the Court’s 12/19/18 Order denying the same (ECF No. 311). He also

 claims the parties had yet to meet and confer on the new disputes.

        The Special Master agrees that the Court addressed Ms. Jordan’s motion to stay through

 its 12/19/18 Order. See ECF No. 311. As articulated to the parties through correspondence by

 the Special Master on 1/25/19, the Court is currently formulating another extension of

 Ms. Jordan’s deadline to respond to Mr. Mirra’s Motion for Summary Judgment.

        The parties have also revealed to the Special Master that Mr. Mirra has produced his legal

 bills in a format readily searchable by Ms. Jordan. See 1/23/19 Letter. The only issues

 remaining before the Special Master are Ms. Jordan’s request to strike the production as a

 discovery sanction in accordance with Fed. R. Civ. P. 37(b), Ware v. Rodale Press, Inc., 322

 F.3d 218 (3d Cir. 2003), Wylie v. Transunion, LLC, Case No. 3:16-cv-102, 2017 U.S. Dist.

 LEXIS 162127 (W.D.Pa. Sept. 29, 2017), and Wachtel v. Health Net, Inc., 239 F.R.D. 81 (D.N.J.

 2006) 12 and Mr. Mirra’s similar request to sanction Ms. Jordan and her counsel for the

 statements made in her written submissions. 13 See 1/25/19, 1/23/19, 1/18/19, and 1/7/19 Letters.

 Although Ms. Jordan’s request is tantamount to a request to dismiss Mr. Mirra’s counterclaims,




 12
         Ms. Jordan referenced Wiley and Wachtel during the 1/11/19 hearing.
 13
         Ms. Jordan’s block-billing argument is not a discovery dispute. Rather, it is an argument
 directed at the proof Mr. Mirra has to support his counterclaims, which should be the subject of
 either a dispositive motion or pretrial ruling. Ms. Jordan also appears to have abandoned her
 request for the production of Mr. Mirra’s retainer letters or fee agreements with counsel. To the
 extent this argument is not abandoned, Ms. Jordan’s request is denied.
                                                28
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 29 of 49 PageID #: 7419




 both of these requests are within the purview of the Special Master’s appointment because they

 pertain to alleged discovery violations. 14 Both requests will be denied.

                        a.      Ms. Jordan’s request to sanction Mr. Mirra by striking the
                                production of his legal bills is denied.

        Through letters dated 1/23/19, 1/18/19, and 1/7/19, Ms. Jordan requests the Special

 Master strike Mr. Mirra’s production of legal bills as a discovery sanction. In support of her

 argument, Ms. Jordan cites primarily to Ware, analogizing the now-extended deadline to respond

 to Mr. Mirra’s Motion for Summary Judgment to the date of the commencement of trial and

 declaring insurmountable prejudice. See 1/23/19 and 1/18/19 Letters. On the other hand,

 Mr. Mirra cites to Briscoe v. Klaus, 538 F.3d 252 (3d Cir. 2008) and Poulis v. State Farm Fire &

 Cas. Co., 747 F.2d 863 (3d Cir. 1984), in support of his argument that the extreme sanction of

 dismissal of his counterclaims is not warranted. See 1/16/19 Letter.

        Federal Rule of Civil Procedure 37(b)(2)(A)(v) authorizes the Court to dismiss an action

 due to a party’s failure to comply with a discovery order. Fed. R. Civ. P. 37(b)(2)(A)(v); Ware,

 322 F.3d at 221. It is well-settled “that dismissals with prejudice or defaults are drastic

 sanctions, termed ‘extreme’ by the supreme court and are to be reserved for comparable cases.”

 Poulis, 747 F.2d at 867-868 (quoting National Hockey League v. Metropolitan Hockey Club,

 Inc., 427 U.S. 639, 643 (1976). When considering requests to dismiss a matter as a discovery

 sanction, the Court considers the following 6 factors:

                1.      the extent of the party’s personal responsibility;
                2.      the prejudice to the adversary caused by the failure to meet
                        scheduling orders and respond to discovery;
                3.      a history of dilatoriness;



 14
        The Special Master does not agree with Mr. Mirra’s assertion that the Court’s 12/19/18
 Order (ECF No. 311) disposed of Ms. Jordan’s request to strike his email production as a
 discovery violation in accordance with Fed. R. Civ. P. 37(b).
                                                  29
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 30 of 49 PageID #: 7420




                4.      whether conduct of the party or the attorney was willful or
                        in bad faith;
                5.      the effectiveness of sanctions other than dismissal, which
                        entails an analysis of alternative sanctions; and
                6.      the meritoriousness of the claim or defenses.

 Poulis, 747 F.2d at 868 (emphasis in original). While no single factor is dispositive, all of the

 factors need not be satisfied for dismissal. Briscoe, 538 F.3d at 263. However, “[d]ismissal

 must be a sanction of last, not first, resort.” Poulis, 747 F.2d at 869.

        The balance of the Poulis factors provide that the striking of Mr. Mirra’s legal bill

 production, which would result in the tantamount dismissal of his counterclaims, is not

 warranted. Mr. Mirra had no personal responsibility for the production of his counsel’s legal

 bills. Mr. Mirra has hardly been lethargic in pursuit of his counterclaims considering the

 thousands of pages of documents exchanged between the parties to date and countless letter

 briefs filed before the Court and this Special Master. Further, the success of Mr. Mirra’s claims

 under the scrutiny of Ms. Jordan’s Motion to Dismiss (ECF Nos. 214 and 215) establishes their

 meritoriousness. See ECF No. 266; Poulis, 747 F.2d at 869-870 (a claim is deemed to be

 meritorious if the allegations in the pleadings would support recovery if established during trial).

        Dismissal would also be an extreme sanction in this instance as the production of

 Mr. Mirra’s legal bills has not been the subject of a motion to compel before the Court or the

 Special Master. Contrary to Ms. Jordan’s assertion, the production of Mr. Mirra’s legal bills was

 not addressed by the Court’s 7/25/18 Order as her 5/8/18 requests for the production of

 documents, which were the subject of the Order, do not contain a request for the legal bills

 supporting Mr. Mirra’s counterclaims. See ECF No. 269. Further, discovery has not been

 completed; rather, it has been stayed pending the disposition of the parties’ cantankerous

 discovery disputes. For these reasons, Ms. Jordan’s claims of bad faith also lack merit.



                                                   30
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 31 of 49 PageID #: 7421




        Lastly, Ms. Jordan has not been prejudiced by Mr. Mirra’s production. Prejudice

 comprises “the irretrievable loss of evidence, the inevitable dimming of witnesses’ memories, or

 the excessive and possibly irremediable burdens or costs imposed on the opposing party.”

 Briscoe, 538 F.3d at 259 (citation omitted). Prejudice also includes “the burden imposed by

 impeding a party’s ability to prepare effectively for a full and complete trial strategy” due to the

 expenditure of costs to obtain court orders for compliance with discovery. Id. (referencing

 Poulis, 747 F.2d at 868 (concluding the defendants were prejudiced by the plaintiffs’ failure to

 respond to discovery and file a pretrial statement) and Ware, 322 F.3d at 220-23 (concluding the

 defendant was prejudiced by the plaintiff’s failure to provide its computation of damages until

 one week prior to trial)).

        Despite Ms. Jordan’s claims, Mr. Mirra’s production is not akin to that in Ware, where

 the defendant produced documents in support of its damages one week before trial, in

 contravention of multiple court orders including an order closing discovery the previous year.

 See Ware, 322 F.3d at 220-221. Similarly, Wylie and Wachtel are distinguishable. 15 Discovery




 15
         Indeed, Wylie is supportive of Mr. Mirra’s argument for continued production. In that
 case, the plaintiff failed to respond to the defendant’s requests for admission while a motion to
 dismiss was pending before the Court. 2017 U.S. Dist. LEXIS 162127 at *2-3. Once these
 requests were deemed to be admitted due to the plaintiff’s failure to respond, the plaintiff moved
 to withdraw or amend these purported admissions. Id. at *1-2. The Court denied the plaintiff’s
 motion, concluding that his purported unilateral stay on discovery during the pendency of the
 motion to dismiss was improper. Id. at *8-9.
         Further, the discovery transgressions enumerated in Wachtel are not comparable to this
 action. In that case, which was “fraught with repeated discovery failures … as well as dishonest
 misrepresentations,” the Court struck 20,000 pages of documents submitted in support of the
 defendants’ motion for summary that were not produced during the course of discovery.
 239 F.R.D. at 101, 110. The Wachtel Court concluded this sanction was proper in light of the
 defendants’ “obstructionist approach to discovery,” where “nonproduction was the rule rather
 than the exception.” Id. at 92, 94. Here, the Special Master sees no evidence to support
 Ms. Jordan’s claims that Mr. Mirra is not actively engaged in the discovery process. As
 explained herein, discovery is still ongoing, albeit stayed at this moment.
                                                  31
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 32 of 49 PageID #: 7422




 is in no way closed in this matter. The parties have no trial date. The Court has not previously

 ordered the production of Mr. Mirra’s legal bills. Ms. Jordan’s expenditure of legal fees in filing

 letters upon letters to strike to this production is just as much her fault as that of Mr. Mirra.

 Accordingly, no prejudice exists, and the Poulis factors do not call for dismissal of Mr. Mirra’s

 counterclaims. Ms. Jordan’s request is denied

                         b.      Mr. Mirra’s request for sanctions due to the statements
                                 contained in Ms. Jordan’s 1/23/19 Letter is denied.

         In his 1/25/19 Letter, Mr. Mirra requests the Special Master strike Ms. Jordan’s false

 statements in her 1/23/19 Letter regarding the legal bills and sanction Ms. Jordan and her

 counsel. See 1/25/19 Letter. Specifically, Mr. Mirra seeks his attorneys’ fees and costs incurred

 in responding to Ms. Jordan’s 1/23/19 Letter and this Special Master’s proportionate costs for

 reviewing the 1/23/19 Letter. 16 The Special Master facially agrees with Mr. Mirra’s claims that

 the ill-natured disposition between the parties (and their counsel) is in bad form and not justified.

 However, this temperament is the unfortunate (and completely unnecessary) consequence of the

 parties’ drawn-out legal battles. Sanctions are not justified at this time but may be forthcoming

 if the parties continue with this unbecoming behavior. Therefore, Mr. Mirra’s request is denied.

         B.              MR. MIRRA’S DISCOVERY ISSUES.

                 1.      Mr. Mirra’s request for specific responses to his 8/22/18
                         interrogatories is granted.

         Mr. Mirra objects to Ms. Jordan’s 9/21/18 responses to his 7 interrogatories served on

 8/22/18. In these interrogatories, Mr. Mirra requests Ms. Jordan’s knowledge as to the existence,




 16
         By 1/25/19 Letter, the Special Master adopted Mr. Mirra’s request that the parties seek
 leave from the Special Master prior to the filing of any additional discovery disputes and that
 such leave request must contain an affidavit of counsel that the parties met and conferred
 regarding the dispute prior to filing.
                                                   32
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 33 of 49 PageID #: 7423




 ownership, and value of the entities, assets, and liabilities that she claims were omitted from the

 SDA. Essentially, these interrogatories seek the basis of Ms. Jordan’s underlying contentions

 and claims — what values were missing from the SDA and when did Ms. Jordan first acquire

 knowledge of the missing values.

        In response to these interrogatories, Ms. Jordan served responses on 9/21/18 that direct

 Mr. Mirra to the more than 300,000 pages of documents that were produced in the parties civil

 RICO action.

        Mr. Mirra argues these responses are insufficient, citing Fed. R. Civ. P. 33(d), In re

 Wilmington Trust Sec. Litig., Master Civ. No. 10-990-SLR-SRF, 2017 U.S. Dist. LEXIS 87045

 (D. Del. June 7, 2017), Novanta Corp. v. Iradion Laser, Inc., Civil Action No. 15-1033-SLF-

 SRF, 2016 WL 4987110, 2016 U.S. Dist. LEXIS 126042 (D. Del. Sept. 16, 2016), Power

 Integrations, Inc. v. Fairchild Semiconductor Int’l, Inc., C.A. No. 04-1371-JJF, 2005 WL

 8136574, 2005 U.S. Dist. LEXIS 50075 (D. Del. Oct. 11, 2005), and DiPietro v. Jefferson Bank,

 144 F.R.D. 279 (E.D.Pa. Nov. 5, 1992). 17

        Alternatively, Ms. Jordan claims her reference to this morass of documents sufficiently

 complies with Rule 33(d), referencing Principal Life Ins. Co. v. DeRose, Civil Action No. 1:08-

 CV-2294, 2010 WL 11549913 (M.D.Pa. Jan. 11, 2010), and Pappas v. Loew’s, Inc., 13 F.R.D.

 471 (M.D.Pa. 1953), amongst others. 18




 17
         Mr. Mirra referenced Wilmington and DiPietro during the 1/11/19 hearing.
 18
         The case law cited by Ms. Jordan is distinguishable from this dispute. In DeRose, the
 Court upheld the plaintiff’s direction to over 4,000 documents in response to the defendant’s
 contention interrogatories. 2010 WL 11549913 at *13 n.2. Here, Ms. Jordan points to over
 300,000 documents — 75 times the documents the DeRose Court deemed acceptable. Further,
 Pappas merely contains a cite that “[i]n general where records have been produced for
 inspection and copying, interrogatories requiring compilation of the information there contained
 would be improper.” 13 F.R.D. at 473 (emphasis added). As discussed herein, the breadth of
                                                  33
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 34 of 49 PageID #: 7424




           “Contention interrogatories ask a party: to state what it contends; to state whether it

 makes a specified contention; to state all the facts upon which it bases a contention; to take a

 position, and to explain or defend that position, with respect to how the law applies to facts; or to

 state the legal or theoretical basis for a contention.” B. Braun Med. Inc. v. Abbott Labs., 155

 F.R.D. 525, 527 (E.D.Pa. 1994) (cited by Novanta Corp., 2016 U.S. Dist. LEXIS 126042, at

 *22). Contention interrogatories are not objectionable simply because they seek an opinion or

 the application of law to the underlying facts of the case. Id. However, a court may defer the

 answering of contention interrogatories until substantial documentary or testimonial discovery

 has occurred. Id. (referencing Fischer & Porter Co. v. Tolson, 143 F.R.D. 93, 96 (E.D.Pa.

 1992)).

           To the extent contention interrogatories are lodged prior to the substantial completion of

 discovery, a party offering the interrogatories “must present specific, plausible grounds for

 believing that securing early answers to its contention interrogatories will materially advance the

 goals of the Federal Rules of Civil [P]rocedure.” Id. (citation and internal quotation marks

 omitted). Specifically, a party must show:

                  That there is good reason to believe that answers to its well-
                  tailored questions will contribute meaningfully to clarifying the
                  issues in the case, narrowing the scope of the dispute, or setting up
                  early settlement discussion, or that such answers are likely to
                  expose a substantial basis for a motion under [Federal Rule of
                  Civil Procedure] 11 or Rule 56.

 Id. (citation omitted).




 Ms. Jordan’s discovery responses to date takes this matter outside of the “general” case where a
 citation to produced documents adequately responds to a discovery request.
                                                    34
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 35 of 49 PageID #: 7425




        Federal Rule of Civil Procedure 33(d) permits a party to produce business records in lieu

 of answering interrogatories in limited circumstances and reads as follows.

                RULE 33.        INTERROGATORIES TO PARTIES

                (d)     Option to Produce Business Records. If the answer to an
                interrogatory may be determined by examining, auditing,
                compiling, abstracting, or summarizing a party’s business records
                (including electronically stored information), and if the burden of
                deriving or ascertaining the answer will be substantially the same
                for either party, the responding party may answer by:
                        (1)     specifying the records that must be reviewed, in
                        sufficient detail to enable the interrogating party to locate
                        and identify them as readily as the responding party could;
                        and
                        (2)     giving the interrogating party a reasonable
                        opportunity to examine and audit the records and to make
                        copies, compilations, abstracts, or summaries.

 Fed. R. Civ. P. 33(d).

        In Power Integrations, this Court addressed a similar discovery issue: whether a party

 properly relied on its production of over 19,000 pages of documents in response to the

 defendant’s interrogatories. 2005 U.S. Dist. LEXIS 50075 at *1-5. In that case, the defendant

 requested the Court compel narrative responses to be produced to its interrogatories instead of

 the plaintiff’s direction to over 19,000 pages of documents. Id. at *1. In granting the

 defendant’s request, the Court reasoned the interrogatories that sought limited clarifications to

 the facts underlying plaintiff’s allegations should be answered in narrative format as opposed to a

 direction to view more than 19,000 pages of documentation. Id. at *3-4. Further, the Court

 concluded the plaintiff should also supply narrative responses to the interrogatories that request

 the position it takes on legal issues, such as damages, provided the plaintiff may supplement

 these responses, to the extent necessary, by expert reports. Id. at *4.




                                                  35
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 36 of 49 PageID #: 7426




        On 8/22/18, Mr. Mirra served contention interrogatories that seek the basis of

 Ms. Jordan’s claim that assets and liabilities were omitted from the SDA. This claim is the

 foundation of her sole cause of action against Mr. Mirra — a breach of warranty arising out of

 the contents of the schedules of assets and liabilities contained in the SDA. Ms. Jordan cannot

 proceed to trial on claims that entities, assets, and liabilities were omitted from the SDA without

 identifying which entities, assets, and liabilities it is basing its claims upon. Moreover,

 substantial discovery has been completed by the parties to date, as indicated by Ms. Jordan’s

 reference to the 300,000 plus pages of documents produced to date. Accordingly, Mr. Mirra’s

 interrogatories are proper.

        In light of the appropriateness of Mr. Mirra’s interrogatories, Ms. Jordan’s reference to

 the 300,000 plus pages of documents is proper, and her responses are clearly deficient. As in

 Power Integrations, Mr. Mirra seeks limited responses to identify those assets and liabilities that

 form the basis of Ms. Jordan’s underlying action. After 5 years in litigation, Mr. Mirra is entitled

 to such relief. It is not Mr. Mirra’s obligation to review Ms. Jordan’s document production and

 guess which values may form the basis of her breach of warranty claim. Rather, Ms. Jordan

 must provide narrative responses to Mr. Mirra’s contention interrogatories to set the stage for the

 parties’ upcoming trial. To the extent Ms. Jordan needs to amend her answers following expert

 discovery, she may do so upon order of court.

        The purpose of the discovery process is to investigate and streamline claims brought

 within an initial pleading. Mr. Mirra cannot be forced to defend against claims that he had no

 knowledge of prior to evidence being presented at trial. Accordingly, Ms. Jordan’s objections

 are overruled, and Mr. Mirra’s request is granted. Ms. Jordan has 60 days from the date of the

 accompanying order to provide supplemental, narrative responses to Mr. Mirra’s 8/22/18



                                                  36
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 37 of 49 PageID #: 7427




 interrogatories. In her supplement, Ms. Jordan should explicitly respond to all portions of the

 interrogatories and identify the entities, assets, liabilities, and any other value that she claims was

 omitted from the SDA that form the basis of her breach of warranty claim. Ms. Jordan will be

 precluded from presenting evidence during trial of any value not included in her 60-day

 supplement, absent leave of court.

                2.      Mr. Mirra’s request for information regarding the procedure
                        undertaken by Ms. Jordan in preserving her personal emails is
                        denied.

        Mr. Mirra claims that Ms. Jordan has failed to preserve emails from up to six of her

 personal email accounts 19 and has requested an order compelling her to sit for a Fed. R.

 Civ. P. 30(b)(6) deposition to detail her preservation efforts. Fed. R. Civ. P. 30(b)(6) outlines the

 process by which a party may request the deposition of an organization and how the organization

 must respond. Fed. R. Civ. P. 30(b)(6) does not appear to apply to this action because Ms.

 Jordan’s listed email accounts are personal in nature. Thus, the application of Fed. R. Civ. P.

 30(b)(6) unnecessarily complicates this issue. Moreover, the efforts taken by Ms. Jordan to

 preserve her personal email accounts, including but not limited to those listed herein, are

 protected from disclosure and discovery under Fed. R. Civ. P. 26(b)(3)(A) and (B) and this

 Court’s Electronic Discovery Default Standard. Accordingly, Mr. Mirra’s request is denied.




 19
        These email accounts include:
               1. Gjordan@aol.com;
               2. Gigijordan015@gmail.com;
               3. Gigijordan50@aol.com;
               4. Holylight@live.com;
               5. Gjibary@gigijordanbail.com; and
               6. Jdjuliedavis@gmail.com.
                                                   37
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 38 of 49 PageID #: 7428




                 3.      Mr. Mirra’s request for information regarding the procedure
                         undertaken by Ms. Jordan to respond to Mr. Mirra’s 8/1/18 requests
                         for the production of documents is granted.

         Mr. Mirra also objects to Ms. Jordan’s 8/31/18 responses to his 15 requests for the

 production of documents served on 8/1/18. In these requests, Mr. Mirra seeks documents

 relating to the existence, ownership, and value of the entities, assets, and liabilities that

 Ms. Jordan claims were omitted from the SDA. These requests are also aimed at discovering

 Ms. Jordan’s knowledge of the entities, assets, and liabilities prior to and following the execution

 of the SDA.

         In response to Mr. Mirra’s requests, Ms. Jordan served responses on 8/31/18, which

 indicate that all documents responsive to Mr. Mirra’s requests were previously produced in the

 parties’ civil RICO action.

         Mr. Mirra contends that Ms. Jordan’s 8/31/18 responses to his interrogatories are

 insufficient because it is unlikely all responsive documents were produced within the RICO

 action. Mr. Mirra has requested Ms. Jordan to detail the process that she undertook to review

 any documents that were not produced in the civil RICO action, including the steps she took to

 review documents for responsiveness to the 8/1/18 requests, a certification that she reviewed all

 documentation that was not produced in the civil RICO action, and whether she reviewed any

 electronic or non-public hard copy documents.

         To date, Ms. Jordan has acknowledged, through counsel, that she conducted a separate

 review of documents in response to the 8/1/18 requests and have produced all applicable

 documents in accordance with Fed. R. Civ. P. 26(g)(1). See also 11/20/18 Letter at 9. The

 process that Ms. Jordan undertook to respond to the 8/1/18 requests for the production of

 documents is an appropriate subject upon which Ms. Jordan may be deposed. However, the



                                                   38
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 39 of 49 PageID #: 7429




 advice, counsel, mental impressions, conclusions, and legal theories imparted to Ms. Jordan by

 her attorneys when responding to Mr. Mirra’s document requests is protected by the attorney-

 client privilege and/or work product doctrine and cannot be disclosed or discussed through the

 course of this inquiry. Therefore, Ms. Jordan’s objections are sustained in part and denied in

 part, and Mr. Mirra’s request is granted in part and denied in part.

 V.     CONCLUSION.

        For the reasons outlined above, I recommend that the Court enter the proposed Order,

 attached hereto as Exhibit A.

        In accordance with Paragraph 4 of the Honorable Judge McHugh’s 10/3/18 Order

 appointing this Special Master (ECF No. 299), it is hereby ORDERED that Ms. Jordan file this

 Report and Recommendation with the Court via Electronic Case Filing on or before 2/28/19.

        This Report and Recommendation is filed pursuant to Fed. R. Civ. P. 53(e). The parties

 may serve and file specific written objections to this Report and Recommendation within

 fourteen (14) days from this date. Fed. R. Civ. P. 53(f); ECF No. 299.

                                                       BY THE COURT,




                                                       Hon. Lawrence F. Stengel (Ret.)
                                                       Special Master

 cc:    Hon. Gerald Austin McHugh (via email)
        Counsel for Plaintiff Jordan
              William D. Sullivan, Esq. (via email)
              Daniel Kornstein, Esq. (via email)
              Elihu Ezekiel Allinson, III, Esq. (via email)
        Counsel for Defendant Mirra
              Thomas Will, Esq. (via email)
              Julia Beskin, Esq. (via email)
              Kenneth Nachbar, Esq. (via email)
              Nicholas A.S. Hoy, Esq. (via email)
              Robert Raskoph, Esq. (via email)

                                                  39
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 40 of 49 PageID #: 7430




                  EXHIBIT A
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 41 of 49 PageID #: 7431




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 GIGI JORDAN,                                   :   1:14-CV-01485-GAM
    Plaintiff/Counterclaim-Defendant,           :
                                                :
               v.                               :
                                                :
 RAYMOND A. MIRRA, JR.,                         :
   Defendant/Counterclaim-Plaintiff.            :


                                            ORDER

        AND NOW, this ___ day of _______________, 2019, upon consideration of the parties’

 letter briefs from September 2018-February 2019 outlining their discovery disputes and 1/11/19

 oral argument, it is hereby ORDERED:

        1.     Ms. Jordan’s request for the asset and liability documents of Atlas Respiratory
               Services, Inc.; Versatile Care Solutions, Inc.; Access Healthcare Services, LLC;
               Apogenics Healthcare, Inc.; BioMed Pharmaceuticals, Inc.; Access Therapeutics,
               Inc.; Alliance Ambulatory Infusion Center, LP; BioMed California, Inc.; BioMed
               Kansas, Inc.; BioMed Florida, Inc.; BioMed PA, Inc.; and BioMed Texas, Inc. is
               GRANTED. Mr. Mirra shall produce these documents within 60 days of the date
               of this Order.

        2.     By agreement of the parties, Ms. Jordan’s request for Mr. Mirra’s responses to
               Ms. Jordan’s 9/12/18 supplemental requests for the production of documents
               regarding Access Pharmaceutical Services, LLC; Bio-Medical Innovations, Inc.;
               Delta Laboratories, Inc.; Indago Healthcare of South Florida, Inc.; Integrated
               BioPharm Corporation, Inc.; LBC Credit Partners Parallel, LP; LMS America,
               Inc.; My Case LLC; New England Hemophilia and Thrombosis Network, Inc.;
               RAM Capital Group 2004 Trust; RAM Capital Holdings, LLC; and World Wide
               Health, Inc. is GRANTED. Mr. Mirra shall produce these documents within 60
               days of the date of this Order.

        3.     Mr. Mirra’s objections to the production of documents identified in Appendix A
               of Ms. Jordan’s 9/19/18 Letter (ECF No. 288) are SUSTAINED as to entry
               No. 65 and DENIED as to entry Nos. 1-64 and 66-68. Mr. Mirra shall produce
               these documents within 60 days of the date of this Order.




                                                1
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 42 of 49 PageID #: 7432




       4.    Ms. Jordan’s request for a third-party vendor to forensically analyze
             Attorney Troilo and Mr. Tropiano’s email accounts and electronic devices is
             DENIED.

       5.    Ms. Jordan’s request for accounting records in Sage 50/Peachtree format is
             DENIED.

       6.    Ms. Jordan’s request for Mr. Mirra to complete the checklist contained within her
             5/8/18 and 9/12/18 requests for the production of documents is DENIED.

       7.    Ms. Jordan’s request to sanction Mr. Mirra for the production of his legal bills
             concomitantly with his Motion for Summary Judgment, including, but not limited
             to, the striking of the production, is DENIED.

       8.    Mr. Mirra’s request for sanctions due to the statements contained in Ms. Jordan’s
             1/23/19 Letter is DENIED.

       9.    Mr. Mirra’s request for more specific responses to his 8/22/18 interrogatories is
             GRANTED. Ms. Jordan shall produce these responses within 60 days of the date
             of this Order. In these responses, Ms. Jordan should explicitly identify the
             entities, assets, liabilities, and any other value that she claims was omitted from
             the SDA. Ms. Jordan will be precluded from presenting evidence during trial of
             any value not included in her 60-day supplement, absent leave of court.

       10.   Mr. Mirra’s request to depose Ms. Jordan regarding the preservation of personal
             emails is DENIED.

       11.   Mr. Mirra’s request for information regarding the process undertaken by
             Ms. Jordan to respond to his 8/1/18 requests for the production of documents is
             GRANTED in part and DENIED in part. Ms. Jordan may be deposed regarding
             the process she undertook to respond to the 8/1/18 requests for the production of
             documents, including but not limited to, the steps she took to review documents
             for responsiveness to the requests, whether she reviewed all documentation that
             was not produced in the civil RICO action, and whether she reviewed any
             electronic or non-public hard copy documents.

       12.   All other requests by either party to sanction either the opposing party or his/her
             respective counsel are DENIED.

       13.   Discovery shall be lifted for 60 days to facilitate the activities outlined herein
             including the deposition of Ms. Jordan.

       14.   The parties are precluded from serving additional discovery responses except for
             those mandated herein absent order of court.




                                                2
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 43 of 49 PageID #: 7433




       15.    The parties are precluded from serving additional discovery requests absent order
              of court.

                                                   BY THE COURT,



                                                   Hon. Gerald Austin McHugh

 cc:   Hon. Lawrence F. Stengel, Special Master (via email)
       Counsel for Plaintiff Jordan
             William D. Sullivan, Esq. (via email)
             Daniel Kornstein, Esq. (via email)
             Elihu Ezekiel Allinson, III, Esq. (via email)
       Counsel for Defendant Mirra
             Thomas Will, Esq. (via email)
             Julia Beskin, Esq. (via email)
             Kenneth Nachbar, Esq. (via email)
             Nicholas A.S. Hoy, Esq. (via email)
             Robert Raskoph, Esq. (via email)




                                              3
Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 44 of 49 PageID #: 7434




                   EXHIBIT B
                           Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 45 of 49 PageID #: 7435
                           APPENDIX A – JUNE 13 COURT ORDERED TROILO PRIVILEGE LOGGED DOCUMENTS NOT PRODUCED


                                              Defendant's Privilege Log Assertions                                                                       Why Production is Required
  No.   Entry No. / Bates    Date            Author                 Recipient               Defendant's Privilege Logged Subject Matter
        RAM000037070 ‐                 Joseph Troilo, Esq.;                         Memorandum providing legal advice regarding tax                Troilo joint representation concerns certain joint
   1                      10/21/2004                              Not Identified
         RAM000037071                     Bruce Kolleda                             payments on real property.                                     assets at SDA.
                                                                                    Correspondence providing legal advice of counsel regarding     Jordan still owned ARC – ARC was subject of
        RAM000025070 ‐
   2                      11/8/2007    Joseph Troilo, Esq.        Raymond Mirra     non‐compete restriction agreement with United BioSource        potential acquisition by United BioSource Corp.
        RAM000025073
                                                                                    Corporation.                                                   for $50 million (undisclosed at SDA).
                                                                                    Email requesting legal advice regarding due diligence
   3           1         12/28/2007    Joseph Troilo, Esq.     Joseph Molieri, Esq. analysis performed in advance of potential Allion              Jordan still owned the 13 Biomed companies.
                                                                                    agreement and merger.
                                                                                    Email requesting legal advice regarding draft due diligence
   4           2         12/28/2007     Jennifer Hoefner*       Joseph Troilo, Esq. analysis performed at request of legal counsel in advance      Jordan still owned the 13 Biomed companies.
                                                                                    of potential Allion agreement and merger.
                                                                                    Draft due diligence analysis sent in connection with request
   5           2a        12/28/2007     Jennifer Hoefner        Joseph Troilo, Esq. for legal advice regarding potential Allion agreement and      Jordan still owned the 13 Biomed companies.
                                                                                    merger.
                                                                                    Draft due diligence analysis sent in connection with request
   6           2b        12/28/2007     Jennifer Hoefner        Joseph Troilo, Esq. for legal advice regarding potential Allion agreement and      Jordan still owned the 13 Biomed companies.
                                                                                    merger.
                                                                                    Draft due diligence analysis sent in connection with request
   7           2c        12/28/2007     Jennifer Hoefner        Joseph Troilo, Esq. for legal advice regarding potential Allion agreement and      Jordan still owned the 13 Biomed companies.
                                                                                    merger.
                                                                                    Email requesting legal advice and forwarding legal advice
                                                                 Joseph Tropiano;
   8           3          2/8/2008      Mark Kovinsky**                             and mental impressions of counsel B. Rodos regarding           Jordan still owned the 13 Biomed companies.
                                                                Joseph Troilo, Esq.
                                                                                    potential Allion merger.
                                                                                    Internal draft of Agreement and Plan of Merger between
                                        Joseph Troilo, Esq.;
   9          111         2/8/2008                                Not Identified    Biomed and Allion containing comments and legal advice of      Jordan still owned the 13 Biomed companies.
                                       Joseph Molieri, Esq.
                                                                                    counsel.
                                                                                    Draft Biomed filing containing comments of counsel
  10           3a         2/8/2008     Joseph Troilo, Esq.        Not Identified                                                                   Jordan still owned the 13 Biomed companies.
                                                                                    regarding Allion merger transaction.
                                                                                    Draft schedule of partnership assets and proposed
                                                                                    distribution for SDA transaction prepared at the request of    Troilo joint representation concerns certain joint
  11          104         2/20/2008    Joseph Troilo, Esq.        Not Identified
                                                                                    counsel for use in providing legal advice regarding            assets at SDA.
                                                                                    structure of SDA transaction.
                                                                                    Binder containing printed drafts of SDA agreements and
                                                                                    drafts of distribution with handwritten legal advice and       Troilo joint representation concerns certain joint
  12           4          2/28/2008    Joseph Troilo, Esq.        Not Identified
                                                                                    comments of counsel regarding revisions to various             assets at SDA.
                                                                                    agreements.
                                                                                    Draft Plan of Distribution containing comments and legal       Troilo joint representation concerns certain
  13           5          2/28/2008    Joseph Troilo, Esq.        Not Identified
                                                                                    advice of counsel.                                             joint assets at SDA.




* J. Hoefner ‐ Pharmacist
** M. Kovinsky ‐ Chief Investment Officer                                                                                                                                                           1 of 5
                           Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 46 of 49 PageID #: 7436
                           APPENDIX A – JUNE 13 COURT ORDERED TROILO PRIVILEGE LOGGED DOCUMENTS NOT PRODUCED


                                             Defendant's Privilege Log Assertions                                                                          Why Production is Required
No.   Entry No. / Bates     Date            Author                 Recipient                  Defendant's Privilege Logged Subject Matter
                                                               Joseph Troilo, Esq.;   Email containing tax analysis requested by counsel for use     Troilo joint representation concerns certain joint
14    RAM000029799        2/29/2008   Michael Bonventure
                                                                Joseph Tropiano       in providing legal advice regarding structure of SDA.          assets at SDA.
                                                                                      Draft schedules of assets with proposed distributions
      RAM000017414 ‐                                                                  prepared at the request of counsel for use in providing        Troilo joint representation concerns certain joint
15                         2/2008      Joseph Troilo, Esq.       Not Identified
      RAM000017422                                                                    legal advice regarding structure of SDA transaction,           assets at SDA.
                                                                                      containing written legal advice of counsel and comments of
                                                                                      Summary of conversation with client containing legal           Troilo joint representation concerns certain joint
16          105           3/1/2008     Joseph Troilo, Esq.       Not Identified
                                                                                      advice of counsel regarding structure of SDA transaction.      assets at SDA.
                                                                                      Correspondence providing legal advice to client regarding
                                                                                                                                                     Troilo joint representation concerns certain joint
17    RAM000029797        3/1/2008     Joseph Troilo, Esq.       Not Identified       opposing counsel's request for financial information
                                                                                                                                                     assets at SDA.
                                                                                      pertinent to negotiation of SDA.
                                                               Joseph Troilo, Esq.;
                                                                                      Email requesting legal advice regarding tax implications in    Troilo joint representation concerns certain joint
18           8            3/3/2008      Joseph Tropiano         Mark Morris, Esq.;
                                                                                      SDA.                                                           assets at SDA.
                                                                    Michael A.
                                                               Joseph Troilo, Esq.;   Email providing legal advice regarding closing schedules for
                                                                                                                                                     Troilo joint representation concerns certain joint
19           9            3/3/2008    Joseph Molieri, Esq.       Joseph Tropiano;     SDA and Allion agreements, and attaching memorandum
                                                                                                                                                     assets at SDA.
                                                                  Mark Kovinsky       providing legal advice.
                                                               Jerald August, Esq.;
                                                                    Michael A.        Email requesting legal advice of counsel regarding closing     Troilo joint representation concerns certain joint
20           10           3/3/2008      Joseph Tropiano
                                                               Bonventure; Joseph     schedules for SDA agreement.                                   assets at SDA.
                                                                    Troilo, Esq.
                                                               Jerald August, Esq.;   Email containing legal advice of counsel and requesting        Troilo joint representation concerns certain joint
21           11           3/3/2008      Joseph Tropiano
                                                                Joseph Troilo, Esq.   legal advice regarding closing schedules for SDA               assets at SDA.
                                                               Jerald August, Esq.;   Draft SDA distribution schedules containing comments of        Troilo joint representation concerns certain joint
22          10a           3/3/2008     Joseph Troilo, Esq.
                                                                    Michael A.        counsel regarding SDA negotiations.                            assets at SDA.
                                                               Jerald August, Esq.;   Attached draft organizational chart prepared containing        Troilo joint representation concerns certain joint
23          11a           3/3/2008      Joseph Tropiano
                                                                Joseph Troilo, Esq.   comments of counsel for SDA negotiations.                      assets at SDA.
                                                               Joseph Troilo, Esq.;
                                                                                      Draft document prepared to request legal advice regarding      Troilo joint representation concerns certain joint
24           8a           3/3/2008      Joseph Tropiano         Mark Morris, Esq.;
                                                                                      tax implications of SDA.                                       assets at SDA.
                                                                    Michael A.
                                                               Joseph Troilo, Esq.;                                                                  Troilo joint representation concerns certain joint
                                                                                      Memorandum providing legal advice regarding closing
25           9a           3/3/2008    Joseph Molieri, Esq.       Joseph Tropiano;                                                                    assets at SDA. Jordan still owned the 13 Biomed
                                                                                      schedules for SDA and Allion agreements.
                                                                  Mark Kovinsky                                                                      companies.
                                                                                    Biomed/Allion transaction list of due diligence items and
                                                              Mark Kovinsky; Joseph
                                      Joseph Molieri, Esq.;                         necessary agreement revisions containing legal advice of
26          112           3/3/2008                              Tropiano; Bruce                                                                      Jordan still owned the 13 Biomed companies.
                                       Joseph Troilo, Esq.                          counsel and requests for information from counsel
                                                                    Kolleda
                                                                                    necessary to complete transaction.




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                           Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 47 of 49 PageID #: 7437
                           APPENDIX A – JUNE 13 COURT ORDERED TROILO PRIVILEGE LOGGED DOCUMENTS NOT PRODUCED


                                             Defendant's Privilege Log Assertions                                                                        Why Production is Required
No.   Entry No. / Bates     Date            Author                  Recipient                Defendant's Privilege Logged Subject Matter
                                                                Joseph Tropiano;
                                                                                      Email providing legal advice regarding Allion agreement
27           12           3/4/2008    Joseph Molieri, Esq.    Mark Kovinsky; Joseph                                                                Jordan still owned the 13 Biomed companies.
                                                                                      and plan of merger.
                                                                   Troilo, Esq.
                                                                Jennifer Hoefner;     Email providing legal advice regarding schedules to Allion
28           13           3/4/2008    Joseph Molieri, Esq.                                                                                         Jordan still owned the 13 Biomed companies.
                                                               Joseph Troilo, Esq.    agreement and plan of merger.
                                                                                      Internal draft of Schedules to Agreement and Plan of
                                      Joseph Molieri, Esq.;
29          113           3/4/2008                               Not Identified       Merger between Biomed and Allion containing comments         Jordan still owned the 13 Biomed companies.
                                       Joseph Troilo, Esq.
                                                                                      and legal advice of counsel.
                                                                 Joseph Tropiano;
                                                                                    Draft of agreement with Allion containing and reflecting
30          12a           3/4/2008    Joseph Molieri, Esq.    Mark Kovinsky; Joseph                                                                Jordan still owned the 13 Biomed companies.
                                                                                    mental impressions and legal advice of counsel.
                                                                    Troilo, Esq.
                                                                                    Draft of schedules to Allion agreement and plan of merger
                                                                 Jennifer Hoefner;
31          13a           3/4/2008    Joseph Molieri, Esq.                          containing and reflecting mental impressions and legal         Jordan still owned the 13 Biomed companies.
                                                                Joseph Troilo, Esq.
                                                                                    advice of counsel.
                                                                                    Correspondence providing legal advice to client regarding      Troilo joint representation concerns certain joint
32    RAM000029794        3/5/2008     Joseph Troilo, Esq.        Not Identified
                                                                                    negotiation of SDA.                                            assets at SDA.
                                                                                    Memorandum from counsel providing legal advice and
33          114           3/5/2008    Bradley Rodos, Esq.       Joseph Troilo, Esq. requesting information for purposes of preparing HSR           Jordan still owned the 13 Biomed companies.
                                                                                    regulatory filing on behalf of Biomed.
                                                                                    Email forwarding legal advice from B. Rodos regarding
34           14           3/7/2008    Joseph Molieri, Esq.     Joseph Molieri, Esq.                                                                Jordan still owned the 13 Biomed companies.
                                                                                    Allion merger agreement and open issues.
                                                              Mark Kovinsky; Joseph
                                                                                    Email providing legal advice and containing draft Allion
35           15           3/7/2008    Joseph Molieri, Esq.       Tropiano; Joseph                                                                  Jordan still owned the 13 Biomed companies.
                                                                                    merger agreement.
                                                                    Troilo, Esq.
                                                              Mark Kovinsky; Joseph
                                                                                    Draft Allion merger agreement containing mark‐up by
36          15a           3/7/2008    Joseph Molieri, Esq.       Tropiano; Joseph                                                                  Jordan still owned the 13 Biomed companies.
                                                                                    counsel.
                                                                    Troilo, Esq.
                                                               Bradley Rodos, Esq.; Draft Allion merger agreement containing mark‐up by
37          16a           3/7/2008    Joseph Molieri, Esq.                                                                                         Jordan still owned the 13 Biomed companies.
                                                                Joseph Troilo, Esq. counsel.
                                                              Mark Kovinsky; Joseph                                                                Troilo joint representation concerns certain joint
                                                                                    Email requesting legal advice and containing draft Allion
38           17           3/8/2008      Joseph Tropiano          Tropiano; Joseph                                                                  assets at SDA. Jordan still owned the 13 Biomed
                                                                                    merger agreement.
                                                                    Troilo, Esq.                                                                   companies.
                                                              Mark Kovinsky; Joseph
                                                                                    Draft Allion merger agreement containing mark‐up by
39          17a           3/8/2008      Joseph Tropiano          Tropiano; Joseph                                                                  Jordan still owned the 13 Biomed companies.
                                                                                    counsel.
                                                                    Troilo, Esq.
                                                                                    Correspondence providing legal advice to client regarding
                                                                                                                                                   Troilo joint representation concerns certain joint
40    RAM000029791        3/9/2008     Joseph Troilo, Esq.        Not Identified    opposing counsel's proposed asset allocation for SDA
                                                                                                                                                   assets at SDA.
                                                                                    transfers of ownership interests.
                                                                                    Draft schedules of assets and proposed distribution of
                                                                                    assets prepared at the request of counsel for use in           Troilo joint representation concerns certain joint
41          106           3/10/2008    Joseph Troilo, Esq.        Not Identified
                                                                                    providing legal advice regarding structure of SDA              assets at SDA.
                                                                                    transaction.




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                           Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 48 of 49 PageID #: 7438
                           APPENDIX A – JUNE 13 COURT ORDERED TROILO PRIVILEGE LOGGED DOCUMENTS NOT PRODUCED


                                             Defendant's Privilege Log Assertions                                                                          Why Production is Required
No.   Entry No. / Bates     Date            Author                   Recipient                 Defendant's Privilege Logged Subject Matter
                                                              Jerald August, Esq.; cc
                                                                                        Request for legal advice regarding tax implications of       Troilo joint representation concerns certain joint
42    RAM000029789        3/10/2008    Joseph Troilo, Esq.     Michael Bonventure;
                                                                                        alternative proposed structures for SDA.                     assets at SDA.
                                                                 Joseph Tropiano
                                                                Joseph Troilo, Esq.;  Email containing tax analysis requested by counsel for use     Troilo joint representation concerns certain joint
43    RAM000029790        3/10/2008   Michael Bonventure
                                                                 Joseph Tropiano      in providing legal advice regarding structure of SDA.          assets at SDA.
                                                                Joseph Troilo, Esq.;  Email containing legal advice of counsel regarding SDA         Troilo joint representation concerns certain joint
44           18           3/11/2008   Bradley Rodos, Esq.
                                                                Jerald August, Esq.   negotiations.                                                  assets at SDA.
                                                                Joseph Troilo, Esq.;  Email containing tax analysis requested by counsel for use     Troilo joint representation concerns certain joint
45    RAM000029788        3/11/2008   Michael Bonventure
                                                                 Joseph Tropiano      in providing legal advice regarding structure of SDA.          assets at SDA.
                                                                                      Biomed/Allion transaction list of due diligence items and
                                      Joseph Molieri, Esq.                            necessary agreement revisions containing legal advice of
46          115           3/11/2008                              Not Identified                                                                      Jordan still owned the 13 Biomed companies.
                                       Joseph Troilo, Esq.                            counsel and requests for information from counsel
                                                                                      necessary to complete transaction.
                                                                                      Internal draft of Schedules to Agreement and Plan of
                                      Joseph Molieri, Esq.
47          116           3/11/2008                              Not Identified       Merger between Biomed and Allion containing comments           Jordan still owned the 13 Biomed companies.
                                       Joseph Troilo, Esq.
                                                                                      and legal advice of counsel.
                                                              Joseph Troilo, Esq.; cc Email providing legal advice regarding tax implications of
                                                                                                                                                     Troilo joint representation concerns certain joint
48    RAM000029786        3/11/2008   Jerald August, Esq.       Brad Rodos, Esq.; different structure options for SDA and Allion merger
                                                                                                                                                     assets at SDA.
                                                                Mark Morris, Esq. agreements.
                                                                                                                                                     Troilo joint representation concerns certain joint
49    RAM000029777        3/12/2008     Brad Rodos, Esq.       Joseph Troilo, Esq.      Email providing legal advice regarding negotiation of SDA.
                                                                                                                                                     assets at SDA.
                                                                                        Email requesting legal advice regarding method of
                                                                                                                                                     Troilo joint representation concerns certain joint
50    RAM000029778        3/12/2008     Joseph Tropiano        Joseph Troilo, Esq.      accounting for large withdrawals of funds from accounts to
                                                                                                                                                     assets at SDA.
                                                                                        be divided between Jordan and Mirra in SDA.
                                                              Joseph Troilo, Esq.;
      RAM000029779‐                                                                Email providing legal advice regarding tax implications of        Troilo joint representation concerns certain joint
51                        3/12/2008   Jerald August, Esq.     Michael Bonventure;
      RAM000029783                                                                 different structure options for SDA.                              assets at SDA.
                                                              cc Joseph Tropiano
                                                                                   Internal draft of indemnification agreement prepared as
                                                                                   part of Agreement and Plan of Merger between Biomed
52          118           3/12/2008    Joseph Troilo, Esq.       Not Identified                                                                      Jordan still owned the 13 Biomed companies.
                                                                                   and Allion containing comments and legal advice of
                                                                                   counsel.
                                                                                   Internal draft of Schedules to Agreement and Plan of
                                      Joseph Molieri, Esq.;
53          119           3/12/2008                              Not Identified    Merger between Biomed and Allion containing comments              Jordan still owned the 13 Biomed companies.
                                       Joseph Troilo, Esq.
                                                                                   and legal advice of counsel.
                                                                                   Internal draft of Schedules to Agreement and Plan of
                                      Joseph Molieri, Esq.;
54          120           3/12/2008                              Not Identified    Merger between Biomed and Allion containing comments              Jordan still owned the 13 Biomed companies.
                                       Joseph Troilo, Esq.
                                                                                   and legal advice of counsel.
                                                                                   Email forwarding legal advice from B. Rodos regarding
55           19           3/13/2008    Joseph Troilo, Esq.    Joseph Molieri, Esq.                                                                   Jordan still owned the 13 Biomed companies.
                                                                                   Allion merger agreement and drafts attached.
                                                                                   Internal draft of Agreement and Plan of Merger between
                                      Joseph Molieri, Esq.;
56          121           3/13/2008                              Not Identified    Biomed and Allion containing comments and legal advice of         Jordan still owned the 13 Biomed companies.
                                       Joseph Troilo, Esq.
                                                                                   counsel.




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                             Case 1:14-cv-01485-GAM Document 316 Filed 02/27/19 Page 49 of 49 PageID #: 7439
                             APPENDIX A – JUNE 13 COURT ORDERED TROILO PRIVILEGE LOGGED DOCUMENTS NOT PRODUCED


                                              Defendant's Privilege Log Assertions                                                                     Why Production is Required
  No.   Entry No. / Bates     Date           Author               Recipient                Defendant's Privilege Logged Subject Matter
                                                                                   Attached draft of Allion merger agreement prepared by
  57          19a           3/13/2008   Joseph Troilo, Esq.   Joseph Molieri, Esq.                                                               Jordan still owned the 13 Biomed companies.
                                                                                   counsel.
                                                                                   Attached draft of Allion merger agreement prepared
  58          19b           3/13/2008   Joseph Troilo, Esq.   Joseph Molieri, Esq.                                                               Jordan still owned the 13 Biomed companies.
                                                                                   counsel.
                                                                Kathy Chandler;    Email containing legal advice of counsel regarding the        Troilo joint representation concerns certain joint
  59           24           4/10/2008   Jerald August, Esq.
                                                               Joseph Troilo, Esq. negotiations of the SDA.                                      assets at SDA.
                                                                                   Email containing legal advice of counsel regarding the        Troilo joint representation concerns certain joint
  60           25           4/10/2008   Jerald August, Esq.    Joseph Troilo, Esq.
                                                                                   negotiations of the SDA.                                      assets at SDA.
                                                                                   Email containing legal advice of counsel regarding the        Troilo joint representation concerns certain joint
  61           26           4/10/2008   Jerald August, Esq.    Joseph Troilo, Esq.
                                                                                   negotiations of the SDA.                                      assets at SDA.
                                                                                   Email containing legal advice of counsel regarding the        Troilo joint representation concerns certain joint
  62           27           4/10/2008   Jerald August, Esq.    Joseph Troilo, Esq.
                                                                                   negotiations of the SDA.                                      assets at SDA.
                                                                                   Email providing legal advice regarding the execution of       Troilo joint representation concerns certain joint
  63           23           4/10/2008   Jerald August, Esq.    Joseph Troilo, Esq.
                                                                                   ownership transfers under the terms of the SDA.               assets at SDA.
                                                                                   Draft Ram Capital Group, LLC Member Withdrawal and            Jordan's member withdrawal from RAM Capital
  64          109           4/10/2008   Joseph Troilo, Esq.      Not Identified    Liquidation Agreement prepared by counsel and containing      not yet executed – Jordan still owner of RAM
                                                                                   legal advice and comments of counsel.                         Capital.
                                                                                   Email providing legal advice regarding Allion merger
        RAM000035866‐                                                                                                                            Jordan was a former Biomed stockholder, so this
  65                        5/29/2008    Brad Rodos, Esq.     Joseph Troilo, Esq. agreement information statement sent to former Biomed
        RAM000035872                                                                                                                             commuication concerns her interests.
                                                                                   stockholders.

                                                                                  Correspondence providing legal advice of counsel regarding
        RAM000025467‐
  66                        3/26/2009   Joseph Troilo, Esq.     Raymond Mirra     assignment of lease between Hometech Therapies, Inc. and Jordan still owned Hometech*
        RAM000025483
                                                                                  Advanced Research Corporation.

                                                                                  Draft schedules of net assets with proposed distributions of
                                                                                  assets prepared at the request of counsel for use in           Troilo joint representation concerns certain joint
  67          110           Undated     Joseph Troilo, Esq.     Not Identified
                                                                                  providing legal advice regarding structure of SDA              assets at SDA.
                                                                                  transaction.
                                                                                  Draft schedule of trust activity prepared at the request of
                                                                                                                                                 Troilo joint representation concerns certain joint
  68    RAM000017411        Undated     Joseph Troilo, Esq.     Not Identified    counsel for use in providing legal advice regarding
                                                                                                                                                 assets at SDA.
                                                                                  structure of SDA transaction.




*Documents Defendant produced in the RICO case show Jordan owned Hometech – undisclosed by Mirra at the SDA – until at least November 2009.                                                       5 of 5
